                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


   Food Lion, LLC, and Maryland and
   Virginia Milk Producers Cooperative
   Association, Inc.,

           Plaintiffs,

   v.
                                                  Docket No. 1:20-cv-442-CCE-JLW
   DAIRY FARMERS OF AMERICA,
   INC.,

           Defendants.


   DAIRY FARMERS OF AMERICA, INC.’S ANSWER AND DEFENSES TO
                   PLAINTIFFS’ COMPLAINT

         Defendant Dairy Farmers of America, Inc. (“DFA”), by and through its undersigned

counsel, answer Plaintiffs’ Complaint, ECF No. 1, as follows.

                                        Introduction

         This matter involves failed bidders and failing competitors who are turning to the

antitrust laws to try to change the marketplace.

         On May 19, 2020, and after failing to convince the Bankruptcy Court for the

Southern District of Texas (“Bankruptcy Court”) to block the sale of certain Dean Foods

Company (“Dean”) processing plants to DFA, Plaintiffs—Food Lion, LLC (“Food Lion”)

and Maryland and Virginia Milk Producers Cooperative Association, Inc. (“MDVA”)—




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filed a Complaint seeking to undo this acquisition under Section 7 of the Clayton Act and

Section 2 of the Sherman Act.

       The thrust of Plaintiffs’ theory is that DFA’s acquisition of bankrupt Dean’s three

processing plants in North and South Carolina (the “Carolina Plants”) might, in 2021,

prevent MDVA from competing to supply those plants with raw milk, and that as a result

of MDVA perhaps not gaining that potential business, Food Lion might not receive as low

prices as it would like for future purchases of processed fluid milk (“Processed Milk”) from

the Carolina Plants.

       But the Plaintiffs also concede that competition remains unaffected in the market:

the Carolina Plants still process raw milk from DFA (as they did prior to DFA’s acquisition

of these plants); MDVA still sells its raw milk to processors other than Dean or DFA; and

Food Lion still purchases its Processed Milk from processors other than Dean or DFA.

And there is no allegation that the competition, as it presently exists, is illegal or improper

in any way.

       The Plaintiffs also concede that the Carolina Plants were purchased by DFA through

procedures governed and approved by the Bankruptcy Court and in an orderly, public

process, overseen by the Bankruptcy Court. The Bankruptcy Court established bidding

procedures. MDVA and DFA were two of several potential bidders. DFA sought to

purchase the vast majority of Dean’s assets, 44 facilities, including corporate headquarters

and fluid milk and frozen operations across the country. MDVA sought to purchase a

single plant, in High Point, North Carolina. Food Lion made no effort to bid for or acquire


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any plant. The Court approved Dean’s selection of DFA as the winning bidder of these

facilities, with full awareness of MDVA’s bid for the High Point, North Carolina plant, and

over the objections of Plaintiffs.

       The incontrovertible reality behind these admissions is that but for DFA stepping

forward and buying these assets, all or most of the Carolina plants would have been

liquidated and critical fluid milk capacity and output would have left the market supplying

the Carolinas. Thus, the only “change” to the market and competition is that DFA

preserved competitive supply that would have otherwise left the market. Simple economics

says that is unambiguously procompetitive, not anticompetitive.

       In order to claim that they could be harmed in the future, the Plaintiffs are forced to

allege a geographic market that is implausible. Plaintiffs argue the geographic market is

limited to North and South Carolina because of the Atlantic Ocean and Appalachian

Mountains, omitting the existence of Virginia to the north and Georgia to the south.

Plaintiffs admit participation in Federal Milk Marketing Order 5, which reflects the

movement of milk throughout the Southeast. And further, Plaintiffs admit seeking milk

from outside the Carolinas, such as Food Lion’s 2017 request for proposal sent to MDVA’s

Virginia processing facility.

       DFA is a cooperative made up of a diverse group of dairy farmers who seek to

work together to achieve the best price and distribution that they can for their product.

Because of its diversity and the large number of farmers who it represents, DFA has

successfully advanced the interests of its farmers, enabling the survival of family and


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small farms. It is laser-focused on both creating demand, and finding a home for

farmers’ milk, which includes capturing the plainly procompetitive vertical efficiencies

of operating fluid milk processing plants. MDVA sues because it has been unable to

compete in the marketplace; Food Lion, which is part of a $70 billion international

conglomerate, sues because it seeks to extract the lowest possible prices to enhance its

profit margins. This is an improper use of the antitrust laws.

       The allegations and argument in Plaintiffs’ eight introductory paragraphs constitute

Plaintiffs’ characterization of the facts and legal and economic arguments to which no

response is required. To the extent a response is required, the allegations in these

introductory paragraphs are denied. Further, the headings and sub-headings contained in

Plaintiffs’ Complaint are improper statements of fact or legal conclusion to which no

response is required. To the extent a response is required, DFA denies those allegations.



                                      THE PARTIES

      1.     Plaintiff Food Lion is a North Carolina limited liability company
headquartered in Salisbury, North Carolina. It operates more than 1,000
supermarkets, either directly or through affiliates, in ten states, including
approximately 600 supermarkets in North and South Carolina and dozens more that
purchase fluid milk from milk processing facilities in the Carolinas. Food Lion
purchases processed fluid milk in interstate commerce and is one of the largest retail
purchasers of processed fluid milk from processing facilities in North and South
Carolina.

       ANSWER: DFA is without information or knowledge sufficient to form a belief

as to the truth of the allegations in Paragraph 1, and on that basis, denies these allegations.



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       2.      Plaintiff MDVA is a corporation organized and existing under the laws
of the Commonwealth of Virginia with its principal place of business in Reston,
Virginia. MDVA is a dairy cooperative with approximately 950 member farms in
eleven states throughout the Mid-Atlantic and Southeast. MDVA also owns two fluid
milk processing facilities outside of the Carolinas and two plants that produce bulk
dairy ingredients for food manufacturers.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 2, and on that basis, denies these allegations.

       3.     Defendant DFA is a dairy cooperative organized and existing under the
laws of the State of Kansas, with its principal place of business in Kansas City,
Missouri. DFA is the largest dairy cooperative in the United States, representing over
14,000 dairy producers in forty-eight states and recognizing $13.6 billion in revenue
in 2018. In the wake of the Asset Sale, DFA is also the nation’s largest processor and
direct-to-store distributor of fluid milk and other dairy and dairy case products. Now
DFA not only engages in the production and marketing of raw milk, but it also
manufactures, markets, and distributes processed milk to retailers, distributors,
foodservice outlets, educational institutions, and governmental entities across the
country, including from its legacy Dean plants in High Point, North Carolina;
Winston Salem, North Carolina; and Spartanburg, South Carolina.

       ANSWER: DFA admits it is a not-for-profit corporation organized and existing

under the laws of the State of Kansas. DFA denies its principal place of business is in

Kansas City, Missouri. DFA admits it is a cooperative as defined under Chapter 17, Article

16 of the Kansas Cooperative Marketing Act. DFA admits that it is the largest dairy

cooperative in the United States with over 13,000 producer members as of the date of this

response. DFA admits that it had $13.6 billion in net sales in 2018. DFA admits that it

markets its producer-members’ raw milk. DFA further admits it has ownership interests

in entities that operate certain milk processing plants in multiple states in the United States

that manufacture fluid milk and other dairy-based products. DFA further admits that the

customers of these products include retailers, distributors, foodservice outlets, educational
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institutions, and governmental entities in multiple states in the United States. DFA further

admits that it owns the fluid milk processing plants in High Point, North Carolina, Winston-

Salem, North Carolina and Spartanburg, South Carolina. DFA denies the remaining

allegations in this introductory paragraph.

            JURISDICTION, VENUE AND INTERSTATE COMMERCE

       4.     This Court has subject-matter jurisdiction over this action pursuant to
15 U.S.C. § 26; 28 U.S.C. § 1331; and/or 28 U.S.C. § 1337(a).

       ANSWER: DFA denies the allegations in Paragraph 4.

       5.   This Court has personal jurisdiction over DFA under 15 U.S.C. § 22,
because DFA may be found and regularly transacts business in this judicial district.

       ANSWER: DFA admits the Court has personal jurisdiction over DFA.

       6.      Venue is proper in this judicial district under 15 U.S.C. § 22 and 28
U.S.C. § 1391(b) and (c), because DFA may be found and regularly transacts business
in this judicial district. Two of the three legacy Dean milk processing facilities at issue
in this Complaint are located in this judicial district, and the anticompetitive effects
of the Asset Sale will be felt throughout this judicial district.

       ANSWER: Paragraph 6 calls for a legal conclusion to which no response is

required. To the extent a response is required, DFA denies the allegations.

       7.     DFA is engaged in, and its activities substantially affect, interstate
commerce, and the conduct alleged herein substantially affects interstate commerce.
Among other things, DFA purchases, markets, processes, and ships milk across state
lines. DFA receives substantial payments across state lines for the sale of raw and/or
processed milk. DFA’s acquisition of three legacy Dean processing facilities in North
and South Carolina will have adverse effects on competition and consumers,
including for the production and processing of fluid milk sold, in the region.




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       ANSWER: Paragraph 7 calls for a legal conclusion to which no response is

required. To the extent a response is required, DFA denies the allegations. DFA denies

the remaining allegations in Paragraph 7.

                                RELEVANT MARKETS

                             The Relevant Product Markets

       8.      There are two relevant product markets at issue in this case.

       ANSWER: Paragraph 8 consists of a legal conclusion to which a response is not

required. To the extent one is required, DFA denies the allegations in Paragraph 8.

       9.    The first market is an upstream market for the supply of raw Grade A
milk (“raw milk”) by dairy producers, in which both DFA and MDVA compete, to
milk processing plants like the legacy Dean facilities (the “raw milk market”).

       ANSWER: Paragraph 9 consists of a legal conclusion and definition to which a

response is not required. To the extent a response is required, DFA denies those allegations

in Paragraph 9.

       10.   The second market is the downstream market for the processing, co-
packing, and delivery of fluid milk products to retailers like Food Lion and other
customers (the “processed milk market” or “processed fluid milk market”).

       ANSWER: Paragraph 10 consists of a legal conclusion and definition to which a

response is not required. To the extent a response is required, DFA denies those allegations

in Paragraph 10.

       11.   The milk industry, including DFA and Dean, treat these two product
markets as being distinct in the ordinary course of business. These relevant product
markets also have been treated as being distinct by federal courts in prior litigation
involving DFA and Dean.



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      ANSWER: Paragraph 11 consists of legal conclusion to which a response is not

required. To the extent a response is required, DFA denies those allegations in Paragraph

11. DFA denies the remaining allegations in Paragraph 11.

      12.     Raw milk is a fungible, homogenous, and highly perishable commodity.
Dairy farmers milk their cows at least twice a day and the milk must be transported
from farms to milk processors nearly every day and sometimes multiple times a day.
Raw milk is typically stored in refrigerated tanks until it is picked up by a milk hauler
who transports it in insulated trucks to milk processing plants. Milk processing plants
process this milk for human consumption and package it for wholesale or retail sale.

      ANSWER: DFA admits that raw milk is highly perishable. DFA admits that dairy

farmers generally milk their cows at least twice a day. DFA further admits that raw milk

is typically stored in refrigerated bulk tanks until it is picked up by a milk hauler who

transports it in insulated trucks to raw milk processing plants. DFA further admits that

milk processing plants process raw milk. DFA denies the remaining allegations in

Paragraph 12.

      13.     Federal milk sanitation standards distinguish between milk eligible for
use in fluid products—called raw Grade A milk—and milk eligible only for
manufactured dairy products. Pursuant to the 1937 Agriculture Act, the U.S. Dairy
Association (“USDA”) classifies raw Grade A milk as milk that qualifies for use in
fluid milk products for human consumption. The highest standards are established
for raw Grade A milk because of safety risks associated with fluid milk products.

      ANSWER: DFA admits that federal milk sanitation standards distinguish between

milk eligible for use in fluid products, known as Grade A milk, but aver that those rules

and regulations speak for themselves. To the extent Plaintiffs’ allegations in Paragraph 13

characterize or contradict those rules or regulations, DFA denies those allegations. DFA

denies the remaining allegations in Paragraph 13.


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       14.    Each month, the USDA calculates minimum prices pursuant to its
formula for raw milk marketed in different geographic regions, known as Federal
Milk Marketing Orders (“FMMO”). Currently, there are ten FMMOs. The milk
processing facilities at issue in this Complaint are included in FMMO 5.

       ANSWER:        DFA admits that the United States Department of Agriculture

calculates certain minimum prices for raw milk but avers that the United States Department

of Agriculture regulations relating to such matters speak for themselves. To the extent

Plaintiffs’ allegations in Paragraph 14 characterize or contradict those regulations, DFA

denies those allegations. DFA further admits that there are currently ten FMMOs. DFA

further admits the High Point, North Carolina, Winston-Salem, North Carolina, and

Spartanburg, South Carolina, fluid milk processing plants are in FMMO 5. DFA denies

the rest of the allegations in Paragraph 14.

       15.    USDA regulations mandate that cooperatives and independent dairy
farmers participating in the FMMO program receive at least the weighted uniform
average or minimum “blend” price for raw Grade A milk that is “pooled” on an
Order. Dairy farmers “pool” raw Grade A milk on an FMMO by delivering specified
minimum quantities of such milk to USDA-regulated fluid milk processing plants
associated with that FMMO.

       ANSWER: DFA admits that United States Department of Agriculture regulations

govern certain aspects relating to the pooling and payment for milk but aver that those

regulations speak for themselves. To the extent Plaintiffs’ allegations in Paragraph 15

characterize or contradict those regulations, DFA denies those allegations.




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      16.     USDA minimum prices for raw Grade A milk represent the minimum
prices that milk processors must pay for such milk marketed pursuant to USDA
regulation. These minimum prices, however, are less than the farmers’ cost to
produce the milk. Farmers must sell their raw milk for more than these minimum
prices in order to survive.

      ANSWER: The first sentence of Paragraph 16 contains Plaintiffs’ characterization

of the operation of United States Department of Agriculture regulations. DFA avers that

those regulations speak for themselves and does not require a response. To the extent

Paragraph 16 is inconsistent with or contradicts those regulations, DFA denies those

allegations. DFA denies the remaining allegations in Paragraph 16.

      17.      On the processed milk side, consumers have long-held cultural and
taste preferences for processed fluid milk over other beverages, and processed fluid
milk has particular nutritional benefits and qualities for use in cooking.
Consequently, consumer demand for processed fluid milk is relatively inelastic; that
is, processed fluid milk consumption does not decrease significantly in response to a
price increase. Fluid milk is distinct from extended shelf-life milk, ultra-high
temperature milk, and aseptic milk, which are produced by different processes, have
numerous significant differences, and generally cost significantly more than fluid
milk.

      ANSWER: Paragraph 17 contains economic conclusions and characterizations

regarding consumer behavior about which DFA is without sufficient knowledge or

information to form a belief as to the truth of the allegations, and on those bases denies

those allegations. DFA admits that extended shelf-life milk, ultra-high temperature milk

and aseptic milk are produced by different processes. DFA denies the allegations in

Paragraph 17.




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       18.    Retailers, supermarkets, distributors, and other processed fluid milk
customers are unlikely to substitute other products for fluid milk because the
individual consumers that they serve continue to demand fluid milk.

       ANSWER: DFA is without sufficient knowledge to form a belief as to the truth of

the allegations in Paragraph 18, and on that basis, denies those allegations.

       19.     Dairy farmers and dairy cooperatives sell raw milk to milk processors
who have no feasible substitutes. Similarly, milk processors sell processed fluid milk
to retailers, who can sell other beverages, but none that are good substitutes for fluid
milk.

       ANSWER: DFA admits that dairy farmers and dairy cooperatives can sell raw milk

to milk processors. DFA admits that fluid milk processors can sell fluid milk to retailers.

DFA denies the remaining allegations of Paragraph 19.

       20.    The markets for raw and processed fluid milk satisfy the well-accepted
“hypothetical monopolist” test set forth in Part 4.1 of the DOJ and Federal Trade
Commission 2010 Horizontal Merger Guidelines, and incorporated by reference into
Part 2 of the Draft Vertical Merger Guidelines (released for public comment on
January 10, 2020). A hypothetical monopolist of raw milk could impose a small but
significant non- transitory increase in price (“SSNIP”) to milk processors. Processors
have no reasonable substitute for raw milk that would render a SSNIP on raw milk
unprofitable. A hypothetical monopolist of processed milk could impose a SSNIP to
customers of processed milk, such as grocery retailers. Retailers and other processed
milk customers could not turn to purchasing other products in sufficient quantity or
numbers to render a SSNIP on processed milk unprofitable.

       ANSWER: Paragraph 20 consists of legal and economic conclusions to which no

response is required. To the extent a response is required, DFA denies those allegations.




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                             The Relevant Geographic Market


       21.     The relevant geographic market in this action for both the supply of
raw milk and its processing and co-packing consists of the milk processing plants in
North and South Carolina. Dairies and cooperatives to which these plants may
reasonably turn for supply of raw milk for these facilities are included in the
geographic market for raw milk. Similarly, customers of processed milk including
retailers that can reasonably turn to these facilities for the purchase of processed milk
are included in the geographic market for processed milk.

      ANSWER: DFA denies the allegations in Paragraph 21.

      22.     Transportation costs and perishability limit the distance over which
raw milk can profitably be shipped. As stated above, farmers generally milk their
cows at least twice a day, and the milk must be stored in refrigerated tanks and
transported to milk processors nearly every day and in some cases multiple times a
day. Raw milk is highly perishable and is costly to transport because it must be
shipped in insulated tanks. Shipping costs are estimated to increase by approximately
$0.10 per gallon for every additional 100 miles shipped. This makes the need to
transport milk to the closest processing facility even more important in order to
manage transportation costs.

      ANSWER: DFA admits that raw milk is highly perishable. DFA further admits

that dairy farmers generally milk their cows at least twice a day. DFA further admits that

raw Grade A milk is typically stored in refrigerated bulk tanks until it is picked up by a

milk hauler to transports it in insulated trucks to raw Grade A milk processing plants. DFA

denies the remaining allegations in Paragraph 22.

      23.    The region surrounding the milk processing facilities in North and
South Carolina has two geographic features that limit the region within which milk
can reasonably and profitably be shipped to and from milk processing facilities: the
Atlantic Ocean to the East and the Appalachian Mountains to the West. Shipping
across the Appalachian Mountains is not economically feasible because of the
transportation costs associated with crossing the mountains.




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      ANSWER: DFA admits the Atlantic Ocean is east of North and South Carolina.

DFA further admits that the Appalachian Mountains run along the western edge of North

and South Carolina. DFA denies the remaining allegations in this Paragraph.

      24.     The economic and transportation costs of shipping milk dictate that the
long-term viability and overall competitiveness of a dairy cooperative supplying raw
milk to a milk processor in the Carolinas relies on the cooperative’s ability to
transport its members’ milk to a local processing facility.

      ANSWER: DFA denies the allegations in Paragraph 24.

        25.     These geographic and cost constraints leave dairy producers located
near the processing facilities in North and South Carolina with only six processing
and packaging facilities to which to sell raw milk: (1) the legacy Dean (now DFA)
facility in Winston-Salem, North Carolina; (3) the legacy Dean (now DFA) facility in
High Point, North Carolina; (3) the legacy Dean (now DFA) facility in Spartanburg,
South Carolina; (4) Kroger’s Hunter Farms facility in High Point, North Carolina;
(5) Ingles’ Milkco facility in Asheville, North Carolina; and (6) the Borden Dairy Co.
facility in Charleston, South Carolina. Because geographic and transportation costs
also constrain the shipment of processed milk, downstream purchasers of processed
milk also rely on nearby milk processing facilities. Below is a map identifying these
facilities’ respective locations.




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             Figure One: Milk Processing Facilities in the Carolinas




       ANSWER: DFA denies the allegations in the first sentence of Paragraph 25. DFA

admits Figure One purports to show six milk processing facilities in North and South

Carolina. DFA is without sufficient information to form a belief as to the truth of the

allegations, and thus on that basis, denies the remainder of the allegations in Paragraph 25.

       26.    A hypothetical monopolist of cooperatives and independent dairies
selling raw milk to the processors located in North and South Carolina could impose
a SSNIP. This is because the high transportation costs associated with raw milk mean
that processors cannot turn to more distant cooperatives to defeat a SSNIP.

       ANSWER: Paragraph 26 calls for legal and economic conclusions to which no

response is required. In addition, DFA is without sufficient information to form a belief as

to the truth of the allegations, and thus on both of these bases, denies the allegations in

Paragraph 26.




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       27.    A hypothetical monopolist of milk processors located in North and
South Carolina could impose a SSNIP in price to customers such as retailers. This is
because retailers, collectively, would not be able profitably to offset such a price
increase by shipping milk from more distant milk processors. Even if some customers
closer to the market boundary did find it economical to substitute more distant
processors, this would not be sufficient to offset the aggregate profitability of a price
increase.

       ANSWER: Paragraph 27 calls for legal and economic conclusions to which no

response is required. In addition, DFA is without sufficient information to form a belief as

to the truth of the allegations, and thus on both of these bases, denies the allegations in

Paragraph 27.



             DFA’S CONSOLIDATION OF THE U.S. DAIRY INDUSTRY

                                     Milk Cooperatives

       28.   The dairy industry in the United States is highly concentrated, at both
the raw milk producer and processor levels, and has become increasingly
concentrated over time as DFA has sought to monopolize the dairy supply chain.

       ANSWER: DFA is without sufficient information to form a belief as to the truth

of the allegations regarding the dairy industry at large, and thus on that basis, denies the

allegations in Paragraph 28. DFA denies the remaining allegations in Paragraph 28.

       29.    Dairy cooperatives are associations of dairy farmers who agree to
market collectively their raw milk. Cooperatives are supposed to be voluntary
associations— owned, operated, and controlled by their farmer members.
Cooperatives “market” their farmers’ raw milk, which usually consists of locating
buyers, negotiating sales prices, coordinating hauling, performing testing, recording
and reporting related data to milk market regulators, and paying member farmers
for their raw milk.




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      ANSWER: DFA admits that dairy cooperatives are associations of dairy producers

who agree to collectively market their dairy products and that such cooperatives are owned

by their member-producers. DFA further admits that dairy cooperatives may locate buyers

for their member-producers’ raw Grade A milk, negotiate sales prices, coordinate the

hauling, perform testing, record and report related data to milk market regulators, and

process payments to member-producers for their raw Grade A milk. DFA denies the

remaining allegations in Paragraph 29.

      30.     One of the key responsibilities of cooperatives is to negotiate prices
higher than the FMMO minimum prices. The amounts by which prices paid for raw
Grade A milk exceed FMMO minimum prices are known generically as “over-order
premiums.” Access to milk processing plants in North and South Carolina and receipt
of FMMO minimum prices and over-order premiums are necessary and essential to
the economic viability of dairy farmers in the region.

      ANSWER: DFA admits dairy farmers and cooperatives, including DFA, attempt

to negotiate prices for raw Grade A milk that exceed the FMMO minimum blend prices,

and that the price negotiated above the minimum blend price is sometimes referred to as

an “over-order premium.” DFA denies the remainder of the allegations in Paragraph 30.

      31.     Not all dairy farmers are cooperative members. Some dairy farmers
seek to remain independent of cooperatives and are referred to as “independent dairy
farmers.” Independent dairy farmers seek to market their raw milk to fluid milk
processing plants by contracting with processing plants either directly or through
agents and/or marketing associations. Many independent dairy farms are family-
owned and operated and have been so for generations.

      ANSWER: DFA admits that dairy producers may be members of a cooperative

and some may be independent (i.e., not a member of a cooperative) and that some of these

dairy farmers may be referred to as “independent dairy farmers.” DFA admits that


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independent dairy farmers may market their own raw milk directly to milk processors or

may rely on a marketing agent or marketing association to market their milk. DFA denies

the remaining allegations in Paragraph 31.

      32.      On January 1, 1998, DFA, a new marketing cooperative, was created
from the merger of four competing dairy cooperatives. By 2000, DFA had emerged
as the largest dairy cooperative in the United States and controlled more than 50%
of the raw Grade A milk produced in the Southeast United States.

      ANSWER: DFA admits that the creation of DFA was effective January 1, 1998,

and that DFA was created from the merger of four cooperatives: the Southern Region of

Associated Milk Producers, Inc. (“AMPI”), Mid-American Dairymen, Inc. (“Mid-Am”),

Milk Marketing, Inc., and Western Dairymen Cooperative, Inc. DFA admits that by 2000,

DFA was the largest dairy cooperative in the United States. DFA denies the remaining

allegations in Paragraph 32.

      33.      Today, DFA is still the largest dairy cooperative and raw milk producer
in the United States. DFA’s members, all of which are producers of raw milk, include
both individual dairy farmers and other member-owned milk marketing
cooperatives. In 2018, DFA produced 52.7 billion pounds of raw milk—
approximately 30% of all raw milk produced in the United States—making it more
than three times larger than the next largest dairy cooperative, California Dairies
Inc., which is a DFA partner. DFA had 2018 revenues of $13.6 billion. DFA recently
started issuing non-voting preferred stock, and its equity from this stock comprises a
large portion of DFA’s total equity.

      ANSWER: DFA admits it is the largest dairy cooperative in the United States as

of the date of this Answer. DFA admits that its members are all producers of raw milk.

DFA further admits that its members include individual dairy farmers. DFA admits that in

2018 it marketed 64.5 billion pounds of raw milk for both members and others, which

represented approximately 30% of the total milk production in the United States. DFA
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admits that in 2018, it had net sales of $13.6 billion. DFA denies the remaining allegations

in Paragraph 33.

       34.    Through various transactions, partnerships, joint ventures, and
contractual relationships, DFA has expanded its dominance of the milk supply chain,
establishing vertical relationships and interests in everything from production, to
processing, to delivery. Thus, DFA currently controls two critical product markets
within the milk supply chain—production and processing—in many of the geographic
markets in which it operates. Until the Asset Sale was consummated, the geographic
region at issue in this Complaint remained one in which DFA was not yet fully
integrated.

       ANSWER: DFA admits that at the time of the sale of certain of Dean’s assets to

DFA, DFA did not own any fluid milk processing plants in North or South Carolina. DFA

denies the remaining allegations in Paragraph 34.

       35.     MDVA is a dairy cooperative with approximately 950 member-farms
in eleven states throughout the Mid-Atlantic and Southeast. As a cooperative, MDVA
supports its farmer-members by locating raw milk buyers, negotiating sales prices,
coordinating hauling, performing testing, recording and reporting related data to
milk market regulators and processors, and by paying member farmers for their raw
milk.

       ANSWER: DFA is without information or knowledge sufficient to form a belief

as to the truth of the allegations, and thus on that basis, denies the allegations.




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       36.    In 2018, MDVA produced approximately 1% of the raw milk in the
United States. To compare their relative size, MDVA sold 2.9 billion pounds of raw
milk in 2018 compared to DFA’s 52.7 billion pounds, making MDVA only the
thirteenth largest dairy cooperative in the United States. MDVA nevertheless acts as
a competitive constraint on DFA in the states in which MDVA operates. In the market
for the production and supply of raw milk to processing facilities in the Carolinas,
MDVA is the only significant competitive constraint on DFA.

       ANSWER: DFA is without information or knowledge sufficient to form a belief

as to the truth of the allegations with respect to the first and second sentences, and thus on

that basis, denies those allegations. DFA denies the remaining allegations in Paragraph 36.

                                       Milk Processors


       37.     Milk processors process raw milk purchased from cooperatives,
independent dairy farmers, or other supply plants into pasteurized milk for human
consumption. Processors process milk into a variety of fluid products including whole
milk, fat-free or skim milk, low and reduced-fat milk, chocolate milk, buttermilk, and
cream. The processed milk is then packaged into a variety of consumer containers
including gallon jugs, half-gallon cartons, and other smaller packages. Milk
processing plants then sell the processed milk to retail outlets, like Food Lion, and
other customers.

       ANSWER: DFA admits that milk processors may process raw milk purchased

from cooperatives, independent dairy farmers, or other supply plants into pasteurized milk

products for human consumption, such as whole milk, fat-free or skim milk, low and

reduced-fat milk, chocolate milk, buttermilk, and cream, but denies the allegations to the

extent they are meant to be comprehensive statements regarding milk processing. DFA

admits that processed fluid milk may be packaged into smaller packages, including gallon,

half-gallon, and other smaller sizes, but denies the allegation to the extent it is meant to be

a comprehensive statement regarding processed fluid milk packaging. DFA admits that


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processed fluid milk may be sold to retail customers. DFA denies the remaining allegations

in Paragraph 37.

       38.    Milk processors include independent processing plants, processors
owned by cooperatives or in joint ventures with cooperatives, and retail supermarket
chains that own their own processing plants. The processing plants of supermarket
chains process and bottle milk primarily for the retail banners owned by that chain.

       ANSWER: DFA admits that milk processors may include independent processing

plants, processors owned by cooperatives or in joint ventures with cooperatives, and retail

supermarket chains that own their own processing plants, but denies that those are the only

types of milk processors. DFA is without information or knowledge sufficient to form a

belief as to the truth of the allegations with respect to the second sentence, and on that

basis, deny those allegations.



                   The Old Dean/Suiza Merger and the Corrupt Bargain


       39.     DFA’s rise from regional dairy cooperative to a two-level dairy industry
monopolist began with a “corrupt bargain” struck in 2001, just as DFA was emerging
as a national cooperative.

       ANSWER: DFA denies the allegations in Paragraph 39.

       40.    In 1996, there were 62 milk processing plants in the Southeast United
States. Following a series of acquisitions, a Texas-based dairy company named Suiza
Foods had become the largest fluid milk processor in the United States. At the time,
Suiza owned 67 milk processing plants in 29 states with net sales of more than $5
billion.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

in the truth of the allegations, and on this basis, denies those allegations.


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       41.    Following its own series of acquisitions, a company that had the same
name as Dean, referred to herein as “Old Dean,” had become the second-largest buyer
of raw milk and the second-largest bottler of processed milk in the United States,
operating 43 dairy processing plants in 19 states and with net sales of approximately
$4.4 billion.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

in the truth of the allegations, and on this basis, denies those allegations.

       42.    By 2001, DFA was the largest dairy producer in the United States, Suiza
was the largest processor, and Old Dean was the second-largest processor. DFA was
supplying raw milk to Suiza, while independent dairy farmers supplied raw milk to
Old Dean. Suiza’s supply costs from DFA were significantly higher than Old Dean’s
independent sources of milk supply.

       ANSWER: DFA admits that it was supplying raw milk to Suiza in 2001. DFA is

without knowledge or information sufficient to form a belief in the truth of the allegations

in the last sentence or the supply of Old Dean, and on that basis, denies those allegations.

DFA denies the remaining allegations.

       43.    In 2001, Suiza Foods announced a plan to merge with Old Dean and to
thereafter operate the merged company under the name Dean Foods Company. The
merger between the two processors has been described as “a case study in how
unchecked mergers beget abusive monopolies that harm both farmers and
consumers.” Claire Kelloway, The Monopolization of Milk, How America’s Biggest
Dairy Co-op is Trying to Become Even Bigger. WASHINGTON MONTHLY, Nov. 21,
2019, available at https://washingtonmonthly.com/2019/11/21/the-monopolization-of-
milk/.

       ANSWER: DFA admits that in 2001 Suiza announced it would acquire “Old Dean”

and operate under the Dean name. The second and third sentences in Paragraph 43 are

Plaintiffs’ interpretation of and citation to an article that speaks for itself and for which no

response is required. To the extent that the allegations are inconsistent with or contradict

the article, DFA denies those allegations on that basis. To the extent Plaintiffs attempt to
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incorporate by reference the article into this Paragraph, such allegations are impermissibly

vague and lack specificity to which DFA could respond. To the extent that a response is

required, DFA denies the allegations. DFA denies the remaining allegations in Paragraph

43.

       44.    In connection with the merger, the parties entered into a “corrupt
bargain” consisting of two side deals: Suiza and Old Dean agreed to a long-term,
exclusive-dealing arrangement in which the newly merged Dean entity would
exclusively buy all of its raw milk from DFA (and thus incur a higher milk supply
cost) for twenty years. DFA, in return, agreed that the divested milk processing plants
it owned as part of a DOJ- mandated competitive constraint on the merger would not,
in fact, compete with the newly merged Dean. In essence, DFA agreed not to compete
with Dean at the processing level in exchange for gaining full supply rights to the
combined company. Although the DFA plants were supposed to compete with Dean
for business in the Southeast, for example, DFA would only submit “fake” or “no”
bids to Food Lion, even though Food Lion was a significant potential customer for
both companies.

       ANSWER: DFA denies the allegations in Paragraph 44.

       45.    In its review of the merger, the DOJ raised, among other matters, the
following two concerns relating to post-merger competition: (1) the need for open
competition for the supply of raw milk to the newly created milk processing company,
and (2) the need for Dean to divest certain plants to preserve competition at the milk
processing level.

       ANSWER: DFA is without information sufficient to form a belief as to the truth

of the allegations in Paragraph 45, on that basis, deny the allegations.




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       46.     The first concern was driven both by an analysis of the then-current
state of competition among milk producers, as well as by the fact that DFA was a
party to a 1977 consent decree limiting its ability to enter into contracts for the sale
of raw milk with a duration more than one year. To address this concern, however,
the parties to the merger made a deceptively limited presentation to the DOJ by
disclosing a series of milk supply contracts between DFA and Dean. Those contracts
each contained a one-year term, which would be renewed in successive years if not
terminated by the parties, and “competitive pricing clauses” that would allow Dean
to purchase milk from lower-cost providers.

       ANSWER: DFA denies the allegations in Paragraph 46.

       47.     But the parties hid from the DOJ that they also had entered into an
unlawful separate agreement—a promissory side note—that imposed the very
restriction on competition for raw milk purchases they said did not exist. On
December 21, 2001, Dean issued a contingent, subordinated promissory note to DFA
in the original principal amount of $40 million (the “Side Note”). The Side Note had
a twenty-year term that bore interest based on the consumer price index. Interest
would not be paid in cash but would be added to the principal amount of the note
annually, up to a maximum principal amount of $96 million. The Side Note would
become payable only if Dean materially breached or terminated its milk supply
agreement with DFA without renewal or replacement. Otherwise, the Side Note
would expire in April 2021, without any obligation to pay any portion of the principal
or interest.1 The Side Note thus effectively created a $96 million penalty if Dean did
not purchase its raw milk from DFA, notwithstanding the terms of the relevant supply
contracts.

       ANSWER: Paragraph 47 purports to characterize the promissory note, which is a

written document the contents of which speak for itself. To the extent Paragraph 47 is

inconsistent with or contradicts the promissory note, DFA denies those allegations. In

Footnote 1 to Paragraph 47, Plaintiffs cite Docket Entry 1883 of the bankruptcy



        1
         See In re Southern Foods Group, LLC, et al., No. 19-36313-H2-11, ECF No.
 1883 (Bankr. S.D. Tex.) (hereinafter “Bankr. Dkt.”) at 67:21; Dean Foods Company,
 2019 Form 10-K (Mar. 20, 2020), https://ir.deanfoods.com/sec-filings/sec-filing/10-
 k/0000931336-20-000006.


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proceedings, which is a written document, the contents of which speak for itself. To the

extent Paragraph 47 and the attendant footnote are inconsistent with or contradict the

document, DFA denies those allegations. In Footnote 1, Plaintiffs cite Dean Foods

Company 2019 Form 10-K, which as a written document the contents of which speak for

itself and no response is required. To the extent Paragraph 47 and attendant Footnote 1 are

inconsistent with or contradict the document, DFA denies those allegations. DFA notes

the link provided for the Dean Form 10-K no longer functions, and DFA cannot respond.

To the extent Footnote 1 seeks to incorporate by reference the documents cited, the

allegations lack specificity to which DFA can respond and on that basis, DFA denies those

allegations. DFA denies the remaining allegations in Paragraph 47.

      48.      The quid pro quo for this Side Note was a second illegal side agreement
that prevented competition between Dean and the processing plants being divested
by Dean in the merger—undermining the second concern raised by the DOJ. In
connection with the merger, the parties created a new company, controlled by DFA,
that would own the milk processing plants divested in connection with the merger.
They simultaneously entered into an illegal non-compete agreement pursuant to
which those divested plants would not compete vigorously with Dean (the “Horizontal
Non-Compete”). In other words, at the same time the merging parties were holding
these plants out to the DOJ as viable plants that would preserve competition, they had
agreed secretly that they would not vigorously compete. They were in fact aware at
the time of the merger that some of those plants would close shortly after the merger.

      ANSWER: DFA denies the allegations in Paragraph 48.




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       49.    To keep the secret, DFA went to great lengths to avoid detection and
 handsomely rewarded members of the conspiracy in order to buy their loyalty. See
 generally Leah Douglas, How Rural America Got Milked, WASHINGTON
 MONTHLY,              Jan./Feb./Mar.          2018,          available          at
 https://washingtonmonthly.com/magazine/january-february-march-2018/how-
 rural-america-got-milked/.

       ANSWER: The second sentence is a citation to an article, which is a written

 document the contents of which speak for itself. To the extent Plaintiffs incorporate by

 reference the article, DFA cannot determine what Plaintiffs seek to incorporate and the

 allegations lack specificity to which DFA could respond, and on that basis, deny the

 allegations. DFA denies the remaining allegations in Paragraph 49.

        Anti-competitive Effects of the Corrupt Bargain, and Related Litigation
      50.     The Side Note and other related anti-competitive conduct by DFA have
materially harmed competition in the relevant markets and beyond throughout its
almost twenty-year life.


      ANSWER: DFA denies the allegations in Paragraph 50.

      51.     Immediately after the Suiza/Old Dean merger, DFA lacked sufficient
raw milk capacity to supply milk to all of the Dean plants in the Carolinas. Thus, for
the next few years, DFA refrained from exercising its right—under the Side Note and
the various one-year supply agreements locked in place thereby—to be the exclusive
supplier to the Dean plants in the Carolinas.

      ANSWER: DFA denies the allegations in Paragraph 51.




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      52.      Instead, DFA coordinated the creation of an organization known as the
Southern Marketing Agency (“SMA”), which was an association of milk cooperatives
including DFA, MDVA, and others. Those cooperatives pooled their milk, shared
revenues and expenses equally, and with DFA’s acquiescence notwithstanding its
exclusive rights, sold raw milk to the Dean plants in the Carolinas.

      ANSWER:        DFA admits that SMA is a not-for-profit corporation of dairy

cooperatives. DFA admits that it and MDVA are members. DFA denies the remaining

allegations in Paragraph 52.

      53.     This arrangement served to benefit DFA. DFA had a higher cost
structure than MDVA and other cooperatives. By agreeing to share costs equally, the
other cooperatives effectively subsidized DFA’s inefficiencies. But for DFA’s
exclusive supply rights created by the Side Note, MDVA would not have agreed to
this arrangement, which effectively “taxed” lower-cost producers and “subsidized”
higher-cost ones.

      ANSWER: DFA denies the allegations in Paragraph 53.

       54.    In 2007, two class action lawsuits were filed that (i) challenged the
unlawful Side Note and Horizontal Non-Compete and also (ii) temporarily mitigated
the anti-competitive effects of the Side Note, at least in part, because DFA and Dean
wanted to present the artificial appearance of competition during the pendency of
those lawsuits. See generally In re: Southeastern Milk Antitrust Litig., No. 2:08-md-
1000 (E.D. Tenn.).

      ANSWER: DFA admits that it was named as a defendant in two purported class

action litigations in 2007. Paragraph 54 purports to characterize the litigations and cites

generally to the entire multidistrict litigation. To the extent Plaintiffs incorporate the

litigations by reference, Plaintiffs’ allegations lack specificity, and on that basis, DFA

denies the allegations. DFA denies the remaining allegations in Paragraph 54.




                                            26



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       55.    First, a putative class of dairy farmers filed a suit captioned Sweetwater
Valley Farm, Inc. et al. v. Dean Foods Co. et al., No. 2:07-cv-208 (E.D. Tenn.). The
farmers alleged that Dean, DFA, and several other dairy marketing service providers
conspired to control the milk supply chain and prices for milk in the Southeast by
requiring farmers to use DFA-controlled marketing entities (e.g. SMA) in exchange
for access to processing plants, punishing cooperatives and processors, and other
conduct.

       ANSWER: DFA admits that it, Dean, and other dairy entities were named as

defendants in the suit Sweetwater Valley Farm, Inc., et al. v. Dean Foods Co., et al., No.

2:07-cv-208 (E.D. Tenn.), filed by a purported class of dairy farmers. The remainder of

Paragraph 55 consists of Plaintiffs’ interpretation of the litigation, to which no response is

required. To the extent a response is required, DFA denies the allegations. DFA denies

the remaining allegations in Paragraph 55.

       56.   The dairy farmers’ litigation resulted in a settlement of $140 million
with Dean in July 2011 and an additional $140 million settlement with DFA in late
2013.

       ANSWER: On information and belief, Dean entered into a settlement with the

Sweetwater class plaintiffs on July 12, 2011 for approximately $140 million in exchange

for full release from the class. DFA admits that in 2013, DFA together with defendant

National Diary Holdings, LP, Gary Hanman, Dairy Marketing Services, LLC, and Mid-

Am Capital, LLC entered into a settlement with the Sweetwater class plaintiffs for an

amount of $140 million, of which $50 million was allocated to DFA, in exchange for full

release. The Sweetwater settlement agreement is attached as Exhibit A. DFA denies the

remaining allegations in Paragraph 56.




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         57.   A related class action case filed by dairy farmers in the Northeast
 settled for $30 million from Dean in 2011 and $50 million from DFA in 2013. See
 Allen et al. v. Dairy Farmers of America, Inc. et al., No. 2:09-cv-230 (D. Vt.) (filed
 Oct., 8, 2009). The opt-outs of the Northeast settlement are continuing to pursue
 their antitrust claims in Sitts v. Dairy Farmers of America, Inc., No. 2:16-cv-287 (D.
 Vt.).

         ANSWER: DFA admits that it and Dean was named as a defendant in Allen v.

 Dairy Farmers of America, Inc., et al., No. 2:09-cv-230 (D.Vt.), filed by a purported

 class of dairy farmers. DFA admits it entered into a settlement of $50 million with the

 plaintiffs in the Allen case. On information and belief, Dean entered into a settlement

 with plaintiffs in the Allen case for $30 million. DFA admits it is a defendant in Sitts v.

 Dairy Farmers of America, Inc., No. 2:16-cv-287 (D. Vt.), and the plaintiffs purport to be

 opt-out class members from the Allen litigation. DFA further admits the Sitts litigation is

 ongoing as of the date of this Answer. DFA denies the remaining allegations in Paragraph

 57.

        58.   Also in August 2007, a putative class of retailers filed a suit captioned
Food Lion et al. v. Dean Foods Co. et al., No. 2:07-cv-188 (E.D. Tenn.). The retailers
alleged that Dean and DFA had violated Section 1 of the Sherman Act by, inter alia,
entering into the illegal Horizontal Non-Compete as the quid pro quo for the Side
Note. Food Lion’s case was settled on undisclosed terms in March 2017.

        ANSWER: DFA admits a putative class of retailers filed a suit captioned Food

Lion et al. v. Dean Foods Co. et al., No. 2:07-cv-188 (E.D. Tenn.). Paragraph 58 consists

of Plaintiffs’ characterization of the allegations in the Food Lion litigation, the contents of

which are written and speak for themselves. To the extent the allegations in Paragraph 58

are inconsistent with or contradict the allegations in the Food Lion litigation, DFA denies



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those allegations. DFA admits the Food Lion case was settled in 2017. DFA denies the

remaining allegations in Paragraph 58.

       59.    By the time of DFA’s settlements with dairy farmers in late 2013, the
supply and demand factors that had existed immediately after the Dean-Suiza merger
had changed. Consumer demand for processed milk had decreased, whereas DFA’s
production capacity had increased. DFA was thus able, and incentivized, at that time
to take full advantage of the anti-competitive Side Note, and caused Dean to first
reduce and then eliminate MDVA’s supply to the Dean plants in the Carolinas.

       ANSWER: DFA denies the allegations in Paragraph 59.

      60.    Until that point, MDVA had been permitted to obtain raw milk access
at Dean’s Carolinas facilities in exchange for a cost-sharing agreement that heavily
favored DFA. Following the settlements, Dean began to limit MDVA’s and other non-
DFA cooperatives’ access to these facilities.

       ANSWER: DFA is without knowledge to form a belief of the truth of the

allegations regarding MDVA, Dean, and other non-DFA cooperatives, and on that basis,

denies the allegations. DFA denies the remaining allegations in Paragraph 60.

       61.   In 2013, MDVA sold 1.142 billion pounds of raw milk to Dean plants in
the Carolinas. At the end of 2014, Dean notified MDVA that it would be moving raw
milk volume from MDVA to DFA pursuant to the long-term supply commitment
between Dean and DFA. MDVA’s CEO was informed by Dean that, while MDVA’s
quality and service were excellent, DFA had told Dean that it wanted to replace
MDVA’s volume at the Dean plants.

       ANSWER: DFA is without knowledge to form a belief of the truth of the remaining

allegations in Paragraph 61, and on that basis, denies the allegations.




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      62.     Dean began to reduce its purchases from MDVA because of DFA’s
direction that it do so, regardless of price, service, and other competitive factors.
Consequently, in 2015, MDVA lost access to processing over 300 million pounds of
raw milk volume at the Dean Carolinas plants to DFA. By the end of 2018, MDVA’s
raw milk supply to Dean facilities in the Carolinas had dropped to just over 200
million pounds, with MDVA’s former business moving to DFA. By 2019, Dean was
no longer purchasing any of its raw milk from MDVA.

      ANSWER: DFA denies the allegations in Paragraph 62.

      63.       Dean’s and DFA’s conduct toward MDVA after the settlement of the
Sweetwater Valley Farms case demonstrates exactly what will happen in the wake of
the recent Asset Sale. When DFA has been able to exert control over the raw milk
purchasing decisions of Dean’s three plants in the Carolinas, as it did because of the
Side Note and as it can now continue to do unfettered due to the Asset Sale, DFA has
cut off its rival cooperatives’ raw milk processing access to Dean plants.

      ANSWER: DFA denies the allegations in Paragraph 63.

                          Current Raw Milk Suppliers for the
                    North and South Carolina Milk Processing Plants


      64.     There are currently only two competitively significant suppliers of raw
milk to processing facilities in North and South Carolina: DFA and MDVA. DFA and
MDVA, together with their partner cooperatives, account for virtually all of the raw
milk supply to milk processing facilities in North Carolina and South Carolina, with
DFA holding the dominant share in both states.

      ANSWER: DFA denies the allegations in Paragraph 64.

      65.     While DFA’s operations span the country, its control over the supply of
raw milk is particularly strong to milk processing facilities in the Carolinas. As shown
in Figure 2 below, in 2018, DFA with its partner cooperatives accounted for 65% of
North Carolina’s raw milk production (611 of 937 million pounds) and 59% of South
Carolina’s raw milk production (143 of 242 million pounds). Such high market share
is presumptive indicia of DFA’s market power.

            Figure Two: Raw Milk Supply in North and South Carolina, 2018




                                          30



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                            DFA with                    MDVA                     MDVA
   2018 State Milk          Partners % DFA               with      % MDVA          with
          Volume              Milk    with             Partners      with        Partners
          (millions          Volume   Partner            Milk      Partners       + DFA
          lbs.)             (millions s                 Volume                     with
                              lbs.)                    (millions                 Partners
                                                         lbs.)
    NC             93           61         65%            32          35%         100%
                    7            1                         6
    SC             24           14         59%            99          41%         100%
                    2            3


       ANSWER: Paragraph 65 cites and incorporates to Figure Two, and DFA is without

knowledge or information sufficient to form a belief of the truth of the allegations and

Figure Two, and on this basis, denies the allegations. DFA denies the remaining allegations

in Paragraph 65.

       66.    No other dairy cooperative or independent dairy farmer supplying milk
to processing facilities in the Carolinas has sufficient presence or size to impede the
exercise of market power of DFA.

       ANSWER: DFA denies the allegations in Paragraph 66.

       67.      DFA and MDVA also compete to recruit member dairy farms. Many
farmers prefer to be members of MDVA, among other reasons, because MDVA
historically and typically operates at a lower cost than DFA and can pass along those
efficiencies to its members.

       ANSWER: On information and belief, DFA admits that DFA and MDVA recruit

member dairy farms. DFA denies the remaining allegations in Paragraph 67.




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                  Current Milk Processors in North and South Carolina


      68.     The milk supply chain in the relevant geographic region has been
consolidating for years as a result of Dean’s and DFA’s complicity and exclusive
dealing arrangements, causing the Dean milk processing facilities in North and South
Carolina to become an increasingly important source both for raw milk suppliers
looking to market their raw milk, and for retailers looking for processors from which
to purchase fluid milk.

      ANSWER: DFA denies the allegations in Paragraph 68.

      69.      The milk processing plants located in North and South Carolina are
shown in Figure One above. Figure Three lists the competitively significant milk
processors in North and South Carolina, stating their owner, location, share of milk
processing in the Carolinas, and current estimated processing level as a percentage of
total capacity.

      Figure Three: Processing Facility Capacity Utilization in the Carolinas

                              Current Volumes            Maximum              Est.
       Facility                                          Capacity          Utilization
                                                                               %
                          Annualized        Share     Annualized gals.
                             gals.
 Dean                     165,348,837          59%       246,976,744
    Spartanburg, SC       83,720,930                     115,116,279          73%
     High Point, NC       29,302,326                      58,604,651          50%
 Winston Salem, NC        52,325,581                      73,255,814          71%
 Kroger (High             46,046,512           16%        50,232,558          92%
 Point)
        High Point,
        NC
 Ingles (Milkco)           50,232,558          18%       66,976,744           75%
         Asheville,
         NC
 Borden                    20,930,233          7         41,860,465           50%
        Charleston,                            %
        SC
 Total                    282,558,140                    406,046,511




                                          32



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       ANSWER: The first sentence is Plaintiffs’ description of Figure One in the

Complaint, the contents of which speak for themselves and to which no response is

required. To the extent a response is required, DFA is without information sufficient to

form a belief of the truth of the allegation, and on that basis, denies the allegation and

Figure One. The second sentence is a description of Figure Three in the Complaint, the

contents of which are written and speak for themselves, and no response it required. To

the extent a response is required, DFA is without information sufficient to form a belief of

the truth of the allegation, and on that basis denies the allegation and the contents of Figure

Three. DFA denies the remaining allegations in Paragraph 69.

       70.    Before the Asset Sale, Dean owned three critical fluid milk processing
plants in the Carolinas: the High Point and Winston-Salem plants in North Carolina
and the Spartanburg plant in South Carolina. In North and South Carolina, the
legacy Dean facilities are centrally located and control a combined 59% of milk
processing.

       ANSWER: DFA admits that prior to May 1, 2020, Dean owned a fluid milk

processing plant in High Point, North Carolina, a fluid milk processing plant in Winston-

Salem, North Carolina, and a fluid milk processing plant in Spartanburg, South Carolina.

DFA is without knowledge or information sufficient to form a belief as to the truth of

matter regarding the allegations on capacity and on that basis denies the allegations. DFA

denies the remaining allegations.




                                              33



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       71.    Dean’s competitive significance as a milk processor in the Carolinas is
even stronger than indicated by this market share because 34% of milk processing in
the Carolinas is controlled by facilities owned and operated by supermarket chains.
Hunter Farms, which is owned by the supermarket chain Kroger, possesses a 16%
share and is operating at 90% of its capacity. Although Hunter Farms does not
exclusively sell to Kroger, and in fact currently sells to Food Lion, its principal
purpose is to provide a reliable source of milk to its owner Kroger and to Kroger’s
other banners. Likewise, Milkco’s Asheville, North Carolina facility possess an 18%
share, is owned by and affiliated with supermarket chain Ingles Markets, and serves
first and foremost as a source for Ingles Markets’ milk.

       ANSWER: DFA is without sufficient knowledge or information to form a belief

of the truth of the first sentence of Paragraph 71, and on that basis, denies the allegations.

DFA admits upon information and belief that Hunter Farms is owned by Kroger. DFA

further admits that Hunter Farms does not sell exclusively to Kroger. DFA further admits

upon information and belief that Ingles owns and is affiliated with a milk processing plant

in Asheville, North Carolina. DFA is without knowledge or information sufficient to form

a belief of the truth of the remaining allegations in Paragraph 71, and on this basis denies

the allegations.

       72.   Until the Asset Sale was consummated, neither DFA nor MDVA owned
any milk processing facilities in the Carolinas.

       ANSWER: DFA admits that as of May 1, 2020, the date Dean and DFA closed the

asset sale with DFA, it did not own any milk processing facilities in the Carolinas. On

information and belief, MDVA owned a milk processing plant in North Carolina but shut

down operations in 2014. DFA is without knowledge or information sufficient to form a

belief of the truth of the remaining allegations in Paragraph 72, and on that basis denies the

allegations.


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       73.      Dean’s concentration worked to the detriment of DFA’s only
competitor in the region, MDVA. Following MDVA’s loss of access to the Dean
facilities in the Carolinas described above, it was forced to develop a patchwork
system of processing facilities to market its farmers’ raw milk. Currently, this
patchwork system includes Hunter Farms, Milkco, and Borden. This system is not
sustainable in the long term.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

of the truth of the allegations in Paragraph 73, and on that basis, denies the allegations.

       74.   Because of the Asset Sale and DFA’s anti-competitive campaign,
MDVA is at serious risk of soon losing access to the Hunter Farms processing facility
for a substantial portion of the raw milk volume that MDVA currently supplies to
that plant.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

of the truth of the allegations regarding MDVA’s access to Hunter Farms in Paragraph 74,

and on that basis denies the allegations. DFA denies the remaining allegations.

       75.    The other non-legacy-Dean facility in North Carolina—Milkco—is
operating at 75% capacity and purchases most of its milk from a DFA affiliate.
Milkco also processes its milk into corrugated boxes rather than milk crates, which
greatly reduces the number of potential purchasers from that facility due to
incompatible packaging. Food Lion, for example, is unable to purchase from Milkco
due to these packaging limitations.

       ANSWER: DFA denies the allegation that Milkco’s packaging reduced the number

of potential purchasers from that facility. DFA is without knowledge or information

sufficient to form a belief of the truth of the remaining allegations in Paragraph 75, and on

that basis, deny those allegations.

       76.    The final option, Borden, is owned by currently the second-largest fluid
milk processor in the U.S. Borden filed for Chapter 11 bankruptcy in January 2020,
however, and it is difficult to predict the long-term viability of Borden’s facilities.
Furthermore, while Borden may be an option for some dairy farmers that sell raw
milk to plants in the Carolinas, Borden is not a sustainable option for MDVA because
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it is located on the South Carolina coast in Charleston, far away from the vast
majority of MDVA’s farmers. Borden’s proximity to the Atlantic Ocean cuts its
serviceable area in half, and shipping to this facility results in higher hauling costs
and logistical problems. Finally, many of Borden’s facilities are viewed as inferior by
dairy farmers and retailers.

       ANSWER: On information and belief, DFA admits that Borden filed for Chapter

11 bankruptcy in January 2020. DFA admits Borden owns a fluid milk processing plant in

Charleston, South Carolina. DFA is without knowledge or information sufficient to form

a belief in the truth of the remaining allegations in Paragraph 76, and on that basis, denies

the allegations.

       77.    Sending raw milk north is also not a viable option long-term for MDVA
farmers because the shipping costs associated with transporting raw milk that
distance sharply cuts into the already thin margins for MDVA farmers. This
undesirable alternative would also work against the intent of the Federal Order
system in this part of the country, which is designed to encourage the flow of milk
from North to South.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

in the truth of the allegations in Paragraph 77, and on that basis, denies the allegations.

       78.   Because MDVA does not believe that it will be able to continue to utilize
the Hunter Farms, Milkco, and Borden plants located in the Carolinas at anywhere
near the current aggregate levels of MDVA’s raw milk sales to those plants, MDVA
was relying heavily on the prospect of competing for access to Dean plants in the
Carolinas once the Side Note and DFA’s contractual supply commitments expired.
Without the ability to compete for the supply to legacy Dean facilities in the Carolinas,
MDVA will cease to be a viable cooperative in the region.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 78, and on that basis, denies the allegations.




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       79.    At the other end of the supply chain, there is no economically viable
source of processed milk in the Carolinas other than these six plants for the vast
majority of customers that purchase processed milk from the Carolinas.

       ANSWER: DFA denies the allegations in Paragraph 79.

       80.      By way of example, at the end of 2017, Food Lion issued a Request for
Proposal seeking an alternative processed milk supplier for several of its distribution
centers, two of which were in North Carolina. At the time, Dean was supplying the
two North Carolina distribution centers, but at non-competitive prices. Food Lion
received bids for one of the distribution centers (Salisbury, North Carolina) from
Kroger (Hunter Farms), from Dean, and from Milkco, and bids for the other
distribution center (Dunn, North Carolina) from Kroger (Hunter Farms), from Dean,
from Borden, and from a MDVA milk processing facility in Newport News, Virginia.
Borden was not a viable option because its freight costs from the coast were too high;
Milkco was not an option because of its corrugated boxing; and Hunter Farms made
clear that it only had the capacity to provide milk to one of the two distribution centers
for which it bid.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 80, and on that basis, denies the allegations.

       81.     The current Dean price, and the price that Dean bid, were higher than
the Hunter Farms bid for Salisbury by more than 10% and more than 7%,
respectively. The current Dean price, and the Dean bid, were higher than the MDVA
bid for Dunn by more than 8% and more than 4%, respectively.

       ANSWER: DFA is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 81, and on that basis, denies the allegations.

       82.    Dean’s 2017 bid to Food Lion demonstrates its practice of seeking
supra- competitive pricing, despite the fact that it has substantial excess capacity,
when it believed it was the only viable processing plant for a retailer. Food Lion’s
Salisbury distribution center was forced to contract with a plant (Hunter Farms)
owned by its direct competitor, and which operates at over 90% of its capacity. Food
Lion’s Dunn distribution center was forced to contract with a MDVA facility 3.5
hours away, all while Dean’s nearby High Point facility was operating at only 50% of
its capacity.



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       ANSWER: DFA is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 82, and on that basis, denies the allegations.

       83.    Neither the MDVA facility nor Hunter Farms is an economical long-
term source for Food Lion’s distribution centers. Food Lion already faces thin profit
margins on processed milk. To continue sourcing affordable milk, Food Lion’s key
Salisbury distribution center has resorted to buying milk from a processing plant
owned by one of its fiercest competitors. This is not a long-term solution, since
Kroger’s Hunter Farms facility is already operating near capacity (92% utilization),
and Kroger will always be the preferred customer for its processor. In addition,
Hunter Farms’ competitive pricing is due in part to the fact that it currently
purchases raw milk from MDVA, and as stated above, MDVA is at serious risk of
soon losing access to the facility in favor of DFA.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 83, and on that basis, denies the allegations.

       84.    MDVA’s Newport News facility was not in 2017, and is not now, a
competitive source for Food Lion’s Salisbury distribution center because it is much
farther away than legacy Dean or Hunter Farms, and the transportation costs are too
high. And although the MDVA facility currently supplies Food Lion’s distribution
center in Dunn, North Carolina, it is still approximately 215 miles—or an estimated
3.5-hour drive—away, leading to high transportation costs, compared to the closest
legacy Dean plant that is 105 miles away.

       ANSWER: DFA is without knowledge or information sufficient to form a belief

 as to the truth of the allegations in Paragraph 84, and on that basis, denies the

 allegations.

       85.     As for the two other non-legacy-Dean milk processing facilities, the
Borden plant in Charleston is in bankruptcy, making it difficult to predict its long-
term viability, and its transportation costs to Food Lion’s North Carolina distribution
centers are high because of its location in coastal South Carolina. The Milkco plant
in Asheville is not a preferred source of processed milk for Food Lion because of its
incompatible packaging. Thus, once the effects of the Asset Sale set in, Food Lion will
have no viable, long-term alternative to submitting to DFA plants’ supra-competitive
pricing.


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       ANSWER: On information and belief, DFA admits the Charleston milk processing

plant is included in the Borden bankruptcy. DFA denies the allegations in last sentence.

DFA is without information or knowledge sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 85, and on that basis, denies the allegations.



                           DFA’s Acquisition of Dean’s Assets


       86.     The Asset Sale (including the processing plants in North and South
Carolina) by Dean to DFA was accomplished through a bankruptcy proceeding
initiated by Dean on November 12, 2019, in the United States Bankruptcy Court for
the Southern District of Texas, Houston Division, Case No. 19-36313. At the time the
bankruptcy case was filed, Dean issued a press release stating that it was in advanced
negotiations with DFA—and only DFA—to sell substantially all of its assets to DFA
in a bankruptcy process designed to avoid antitrust scrutiny. In essence, the parties
were once again turning to each other—just as they did at the time of the Suiza-Dean
merger—to further their joint anti-competitive goals and deflect the harsh light of
antitrust review and challenge.

       ANSWER: On information and belief, DFA admits Dean initiated bankruptcy

proceedings on November 12, 2019, in the United States Bankruptcy Court for the

Southern District of Texas. DFA further admits that Paragraph 86 purports to characterize

the bankruptcy proceedings, the contents of which are public documents and speak for

themselves. DFA further admits Paragraph 86 purports to characterize a press release

issued by Dean, the contents of which speak for itself. To the extent Paragraph 86 is

inconsistent with or contradicts the press release, DFA denies the allegations. To the extent

Paragraph 86 is inconsistent with or contradicts the bankruptcy proceedings, DFA denies

those allegations. DFA admits that the sale of Dean assets to DFA included, among other


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operations, the Dean headquarters operations and certain fluid and frozen operations, which

included the Dean fluid milk processing plants in North and South Carolina. DFA denies

the remaining allegations in Paragraph 86.

       87.     On March 30, 2020, several parties submitted bids for various of Dean’s
assets, including (a) DFA, which submitted a bid to purchase most of Dean’s assets
across the United States, including Dean’s three milk processing plants in North and
South Carolina, and (b) MDVA, which submitted a bid to purchase only the
processing plant in High Point, North Carolina.

       ANSWER: DFA admits that it submitted a bid, pursuant to the bidding procedures

approved by the Bankruptcy Court, to purchase Dean assets including Dean’s headquarter

operations, certain fluid and frozen operations, and related facilities, equipment, and assets.

DFA admits that MDVA also submitted a bid to purchase the processing plant in High

Point, North Carolina under the bidding procedures approved by the Bankruptcy Court.

On information and belief, DFA admits that Dean received 35 bids in the Bidding

Procedures approved by the Bankruptcy Court, and that only DFA submitted a bid for the

vast majority of Dean’s assets. DFA admits Paragraph 87 purports to summarize the Dean

bankruptcy proceedings, the contents of which are public documents and speak for

themselves. To the extent Paragraph 87 is inconsistent with or contradicts the bankruptcy

proceedings, DFA denies the allegations.

       88.     The legacy Dean High Point plant operates at only 50% capacity.
Taking advantage of the size and resources that its anti-competitive campaign
allowed it to accumulate, DFA steadfastly insisted on buying that plant as part of a
“take it or leave it” package deal that included either all forty-four legacy Dean plants
or none. Upon information and belief, DFA did so not because its business goal is to
operate the plant, but rather for the purpose of creating the anti-competitive effects
described herein. Specifically, the only purpose for this tactic—and the only reason
that DFA was interested in the High Point plant—is because of its strategic role in
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helping DFA to suppress competition from its only remaining competitor in the
region.

      ANSWER: DFA denies the allegations in Paragraph 88.

      89.     MDVA was and is a willing and viable buyer for the High Point plant
who could operate that plant effectively and whose ownership thereof would avoid or
mitigate the anti-competitive effects complained of herein.

      ANSWER: DFA denies the allegations in Paragraph 89.

      90.     Shortly after midnight on March 31, 2020, however, Dean predictably
announced DFA as the winning bidder for assets it bid on, including the processing
plant in High Point, North Carolina, and identified MDVA as the backup bidder for
the processing plant in High Point.

      ANSWER: DFA admits that on March 31, 2020, Dean announced DFA as the

winning bidder for the assets identified in the “Notice of Bid” [Bankruptcy Docket No.

1270]. DFA admits that, in the same document, MDVA was named an “Alternate Bidder”

for the High Point, North Carolina plant. DFA denies the remaining allegations in

Paragraph 90.

      91.      On April 1, 2020, Food Lion and a related corporate entity filed a
Limited Objection [Bankr. Dkt. 1406] to the proposed sale of certain of Dean’s assets
to DFA due to the potential anti-competitive impact the sale would have on the raw
and processed milk markets in and around the Carolinas. On the same date, MDVA
filed a similar Objection [Bankr. Dkt. 1415] to the proposed sale of certain assets by
Dean to DFA.

      ANSWER: DFA admits that Paragraph 91 purports to characterize documents filed

in the Dean bankruptcy proceeding, and as written documents the contents of which speak

for themselves.   To the extent Paragraph 91 is inconsistent with or contradicts the

documents, DFA denies the allegations. DFA denies the remaining allegations.



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       92.    The Bankruptcy Court authorized Dean to sell the majority of its assets
         2
to DFA, but expressly did not address the issues under the antitrust laws presented
by the present complaint. The Bankruptcy Court entered an order dated April 5, 2020
permitting the sale to proceed pursuant to the terms of the asset purchase agreement
(the “Sale Order,” Bankr. Dkt. 1572). The Sale Order further authorized Dean, in the
event DFA failed to close on its Asset Purchase Agreement (“APA”), to sell assets to
the backup bidders, including the processing plant in High Point, North Carolina, to
MDVA.

       ANSWER: DFA admits the Bankruptcy Court entered an “Order (a) Authorizing

Sale of Certain of Debtors’ Assets to Dairy Farmers of America, Inc., Free and Clear of

All Claims, Liens, Interest, and Encumbrances, (b) Authorizing the Debtors to Enter Into

and Perform Their Obligations Under the Asset Purchase Agreement And Related

Documents, and (c) Granting Related Relief,” dated April 5, 2020. DFA admits that

Paragraph 92 purports to characterize documents filed in the Dean bankruptcy proceeding,

and as written documents the contents of which speak for themselves. To the extent

Paragraph 92 is inconsistent with or contradicts the documents, DFA denies the allegations.

Footnote 2 purports to characterizes the sale of certain Dean assets to DFA and other

bidders. DFA admits that other winning bidders include Prairie Farms Dairy, Inc., Mana

Saves McArthur, LC, Producers Dairy Foods, Harmoni, Inc., and Industrial Realty Group,

LLC. To the extent Paragraph 92 is inconsistent with or contradicts those documents, DFA




        2
          DFA agreed to purchase forty-four of Dean’s fifty-seven fluid milk plants, along with
 various other assets, for a total value of $433 million. The purchase price consists of $325
 million in cash and $108 million in forgiveness of debt owed by Dean to DFA. The Bankruptcy
 Court also approved the sale of eight facilities and two distribution centers to Prairie Farms
 Dairy, Inc., and the sale of one facility to Mana Saves McArthur, LLC.


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denies those allegations. To the extent Footnote 2 seeks to incorporate by reference the

bankruptcy proceedings, such allegations lack specificity to which DFA could respond,

and on that basis denies the allegations. DFA denies the remaining allegations.

      93.    To resolve Food Lion’s and MDVA’s objections to the Sale Motion, the
Bankruptcy Court included in the Sale Order the following provisions to preserve
Food Lion’s and MDVA’s rights to challenge the Asset Sale:

               Anti-Trust Enforcement. Notwithstanding anything to the
        contrary contained herein, no provision of this [Sale] Order or the
        APA shall operate to impair, prejudice, or otherwise abrogate the
        rights (if any) of The Stop & Shop Supermarket Company LLC and
        Food Lion LLC, the Maryland and Virginia Milk Producers
        Cooperative Association, Inc. and the California Dairies, Inc. and
        any of their affiliates, subsidiaries, successors, or assigns, to challenge
        the Sale Transaction under the antitrust laws of the United States.
        All such rights are explicitly reserved pursuant to this order.


      ANSWER: DFA admits that the Sale Order contains the quoted language, as

modified. Paragraph 93 purports to characterize documents filed in the Dean bankruptcy

proceeding, and as written documents the contents of which speak for themselves. To the

extent Paragraph 93 is inconsistent with or contradicts the documents, DFA denies the

allegations. DFA denies the remaining allegations.

      94.     As such, while the Sale Order authorized Dean to sell certain assets to
DFA, the order further preserved Food Lion’s and MDVA’s rights to file the present
challenge to the Asset Sale.

      ANSWER: DFA admits that Paragraph 94 purports to characterize documents filed

in the Dean bankruptcy proceeding, and as written documents the contents of which speak

for themselves.   To the extent Paragraph 94 is inconsistent with or contradicts the

documents, DFA denies the allegations. DFA denies the remaining allegations.

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        95.   On May 1, 2020, DFA and Dean closed on the Asset Sale, making DFA
both the largest milk producer and the largest milk processor in the United States.3
A dairy conglomerate was born.

        ANSWER: DFA admits that DFA and Dean closed the sale of certain Dean assets

pursuant to the Asset Purchase Agreement on May 1, 2020. DFA admits that on May 1,

2020, the Department of Justice filed a complaint and proposed final judgment in which

DFA agreed to make certain divestitures in United States et al. v. Dairy Farmers of

America, Inc., et al, No. 1:20-cv-2658 (N.D. Ill.), the contents of which speak for

themselves. To the extent Paragraph 95 and Footnote 3 are inconsistent with or contradict

the documents, DFA denies those allegations. To the extent Paragraph 95 and Footnote 3

incorporate by reference the litigation or any part thereof, the allegations lack specificity

to which DFA can respond, and on that basis deny those allegations. DFA denies the

remaining allegations in Paragraph 95.

       96.    Upon information and belief, Dean’s bankruptcy filing gave it the right
and opportunity to extinguish the obligations of the Side Note by conveying its milk
processing plants free and clear of the pre-bankruptcy obligation of those plants,
created by the Side Note or otherwise, to purchase milk from DFA. Had Dean
accepted a bid from MDVA or any other non-DFA entity for the Carolinas facilities,
that entity would have taken ownership of the plant(s) without any obligation to
purchase raw milk from DFA. But now, DFA’s acquisition of the majority of the
legacy Dean plants will have even greater anti-competitive effects on the milk supply
chain than did the Side Note, because it allows DFA to now control supply rights to
the legacy Dean plants forever.




3
  The Asset Sale contemplates the sale of forty-four legacy Dean plants to DFA. On the evening that the Asset Sale
closed, however, DFA and the DOJ consented to the divestiture of three of the forty-four legacy Dean plants within
thirty days, in order to preserve competition in Northeastern Illinois, Wisconsin, and New England. See United
States et al. v. Dairy Farmers of Am., Inc. et al., No. 1:20-cv-2658 (N.D. Ill.), ECF Dkt. 4 (filed May 1, 2020).

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       ANSWER:         Paragraph 96 asserts a legal conclusion to which no response is

required. To the extent that a response is required, DFA denies the allegation in Paragraph

96.

                           ANTI-COMPETITIVE EFFECTS

       97.    Section 7 of the Clayton Act prohibits mergers if “the effect of such
acquisition may be substantially to lessen competition, or to tend to create a
monopoly.” 15 U.S.C. § 18. This prohibition includes vertical mergers, as Congress
made plain in the 1950 amendments to the Clayton Act. A vertical merger may violate
antitrust laws where the merging parties would—by means of their control of an input
that their competitors need—have the incentive and ability to substantially lessen
competition by raising the price for or reducing that input.

       ANSWER: Paragraph 97 asserts a legal conclusion to which no response is

required. To the extent that a response is required, DFA denies the allegation in Paragraph

97.

       98.     A potential negative effect of vertical acquisitions, such as those of a
raw milk producer acquiring a milk processor, is when the combined entity takes
actions to raise its rivals’ costs of doing business. This occurs because the combined
entity either offers worse terms to rival firms for the purchase and sale of their goods
than they would if they were not integrated, or refuses to deal with rival firms,
resulting in foreclosure.

       ANSWER: Paragraph 98 asserts legal and economic conclusions to which to

response is required. To the extent a response is required, DFA denies those allegations.

DFA is without information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 98 and, on that basis, denies those allegations.

       99.     Foreclosure can take two forms. First is “customer foreclosure.” The
combined entity can refuse to buy (or give worse conditions for the purchase of) raw
milk from rival cooperatives. Second is “input foreclosure.” The combined entity can
sell its own raw milk to rival processors at higher prices or reduce raw milk sales to
rival processors, with the intent of raising their costs of obtaining raw milk, thus
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making them less competitive at the processing level to the benefit of the combined
entity.

       ANSWER: Paragraph 99 asserts a legal conclusion to which no response is

required. To the extent that a response is required, DFA denies the allegation in Paragraph

99.

       100.   The Government Accountability Office (“GAO”) recognized the
potential of customer foreclosure in the milk industry, concluding in a 2019 report
that cooperatives’ “[i]nvestments in processing facilities can benefit farmers within a
cooperative while reducing market access for farmers outside of the cooperative.”
U.S. Government Accountability Office (2019), Dairy Cooperatives: Potential
Implications of Consolidation and Investments in Dairy Processing for Farmers, GAO-
19-695R (27 Sept), at 6, available at https://www.gao.gov/assets/ 710/701795.pdf. The
GAO specifically cited as an example a joint venture that included DFA, and that may
“restrict market access, for farmers who are not members of the cooperative.” While
the GAO noted that this harm should be weighed against benefits resulting from new
market access from a new plant being built, those benefits do not apply when DFA
acquires existing plants, such as the legacy Dean facilities in the Carolinas.

       ANSWER: DFA admits that the 2019 GAO Report to which Plaintiffs link contains

the language quoted by Plaintiffs, as modified; that the report cited a joint venture that

included DFA, and further states that the GAO stated regarding that joint venture that

“USDA noted that, while these investment opportunities may not allow non-members

market access, market outlets resulting from these investments did not exist before the

cooperative and its members decided to make the investment.”           To the extent that

Paragraph 100 is inconsistent with or contradicts the 2019 GAO report, DFA denies those

allegations. DFA denies the remaining allegations in Paragraph 100.

       101.   Absent DFA’s incentives to consolidate power in both the raw milk and
processed milk markets brought about by the Asset Sale, both its raw milk
cooperative and its milk processing plants would find it profitable to supply to the
lowest-cost processors or to buy from the lowest-cost cooperatives. But with the Asset
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Sale, DFA has every incentive to make these markets less competitive. In short, the
window for competition that would otherwise have opened by expiration of the Side
Note has now been permanently closed by the Asset Sale.

      ANSWER: DFA denies the allegations in Paragraph 101.

      102.     As set forth below, the Asset Sale will substantially lessen competition
for the production, processing, and distribution of fluid milk in the region and cause
significant losses and harm to MDVA and Food Lion.

      ANSWER: DFA denies the allegations in Paragraph 102.



                              Effect on Raw Milk Market

      103.    In the upstream raw milk market, the Asset Sale will reduce potential
sources of raw milk and/or increase the price of raw milk to non-legacy-Dean
processing plants and reduce or eliminate DFA’s one remaining competitor (and its
only check on pricing) in the region.

      ANSWER: DFA denies the allegations in Paragraph 103.



      104.   Dean was only a milk processor and relied on dairy cooperatives and
independent farms for its supply of raw milk. Therefore, even though Dean recently
stopped purchasing MDVA raw milk, absent the sale of the legacy Dean assets to
DFA, MDVA would have the opportunity to compete for raw milk supply access to
the legacy Dean plants in the future.

      ANSWER: DFA admits the allegations in the first sentence of Paragraph 104. DFA

denies the remaining allegations in Paragraph 104.


        105.     This is not merely theoretical competition. The dissolution of the Side
Note in connection with Dean’s bankruptcy would permit MDVA to compete to
supply raw milk to the legacy Dean North and South Carolina milk processing
facilities. Because of its lower cost structure, high quality product and service, and
competitive pricing, MDVA was well positioned to compete for access to legacy Dean
facilities if those plants had remained independent from DFA.
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      ANSWER: DFA denies the allegations in Paragraph 105.

      106.    But for the sale of Dean assets to DFA, some or all of the following
effects would have been likely at the time the Carolinas plants gained the right to
purchase raw milk free of the obligations of the Side Note:
             o     The legacy Dean plants would select the most efficient way of
                   purchasing raw milk;
             o     DFA competitors such as MDVA would have access to legacy
                   Dean processing plants when those plants are the most efficient
                   or cost-effective option;
             o     DFA competitors such as MDVA would be able to recruit dairy
                   farmers to join their cooperatives as an alternative to DFA, as
                   those farmers would have the potential to better market their
                   milk through more efficient cooperatives.
             o     Non-legacy-Dean plants would have multiple, competitive
                   suppliers of raw milk, which would allow those plants to seek
                   efficient, low-cost raw milk supplier agreements.

      ANSWER: DFA denies the allegations in Paragraph 106.

       107.    The expected result of the above is that raw milk would be provided to
each processing plant by the closest, most efficient dairies or cooperatives, reducing
market waste through excessive transportation and through continued support of
inefficient dairies and cooperatives.

      ANSWER: DFA denies the premise on which the allegations in Paragraph 107 are

based, as noted in its response to Paragraph 106, and on that basis, denies the allegations

in Paragraph 107.

       108.  The resulting greater competition at the raw milk level would result in
better raw milk prices to milk processors. To try to gain and retain members, DFA
and MDVA would have to compete to offer the best prices to processors.

       ANSWER: DFA denies the premise on which the allegations in Paragraph 108 are

based, as noted in its response to Paragraph 106, and on that basis, denies the allegations

in Paragraph 108.


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       109.   But with the Asset Sale, none of these effects will be realized, and raw
milk prices will increase. MDVA will lose both an outlet for sales of its raw milk and
its members, weakening or eliminating its ability to be a check on DFA’s market
power.

       ANSWER: DFA denies the premise on which the allegations in Paragraph 109

are based, as noted in its response to Paragraph 106, and on that basis, denies the allegations

in Paragraph 109.

       110.      First, the Asset Sale has decisively and permanently foreclosed any
hope that MDVA would have access to legacy Dean processing facilities. As a direct
result of the Asset Sale, MDVA will suffer a permanent loss of access to the legacy
Dean facilities in the Carolinas because DFA will never allow a rival to access its
facilities, irrespective of capacity.

       ANSWER: DFA denies the allegations in Paragraph 110.



       111.   Non-DFA dairy producers selling to milk processing facilities in the
Carolinas require the ability to compete for access to the legacy Dean facilities to stay
in business. Now that the Asset Sale has closed, DFA can and will anti-competitively
leverage its newfound downstream market power in milk processing into additional
upstream market power in milk production, at the expense of its only significant
competitor in the region. DFA has the ability and incentive to foreclose MDVA from
access to supplying raw milk to the acquired legacy Dean facilities in the Carolinas.

       ANSWER: DFA denies the allegations in Paragraph 111.

       112.    Similar events have unfolded for the last several years as DFA has
purchased milk processors in other parts of the country. For example, in 2017, DFA
purchased Cumberland Dairy, a former independent processor located in New
Jersey, with whom MDVA had previously enjoyed a profitable and mutually
beneficial relationship that included the sale of raw milk and a successful co-packing
partnership. Almost immediately following DFA’s takeover of the facility, MDVA lost
all of its raw milk business as Cumberland quickly switched to DFA for its milk
supply.




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       ANSWER: DFA denies the allegations in the first sentence for Paragraph 112.

With respect to the second sentence of Paragraph 112, DFA admits that it acquired in 2017

Cumberland Dairy, a New Jersey processor of ultra-pasteurized dairy products, but DFA

is without information sufficient to form a belief as to the truth of the remaining allegations

in that sentence and, on that basis, denies those allegations. With respect to the third

sentence of Paragraph 112, DFA denies this allegation.

       113.   Historically, MDVA and DFA have competed closely in the market for
the supply of raw milk to processing facilities in North and South Carolina. MDVA
successfully competed against DFA on price and maintained exclusive access to the
legacy Dean High Point facility from 2006 until 2015, at which point Dean gave
approximately half of the supply to DFA because the latter exercised its rights under
the anti-competitive Side Note.

       ANSWER: With respect to the first sentence of Paragraph 113, DFA admits that

MDVA and DFA have competed for supplying raw milk to processing facilities in North

and South Carolina, but further states that whether that constitutes a “market” is a legal

conclusion to which no response is required; to the extent a response is required, DFA

denies the allegation. DFA denies the allegations in the second sentence.

       114.     Until 2019, when MDVA’s access was finally cut off, MDVA and DFA
continued to supply raw milk to the Dean facilities. Now that DFA has acquired all
of the Dean facilities in the Carolinas, MDVA will be permanently foreclosed from
the ability to compete to supply these three crucial facilities, forcing it to turn to more
distant plants, making its bids at those plants less competitive and less profitable due
to its higher transportation costs. DFA has the ability and incentive to raise MDVA’s
costs and lower its farmers’ profits by forcing inefficient “cross-shipments”—i.e.,
preventing MDVA and its farmers from accessing the closest milk processing
facilities.

       ANSWER: DFA denies the allegations in Paragraph 114.



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       115.     In addition, as described herein, MDVA’s current patchwork system of
processing facilities in North and South Carolina that will purchase its farmers’ milk
is not sustainable. Without the ability to compete for access to the legacy Dean
facilities in the Carolinas, MDVA will be substantially foreclosed from access to milk
processing facilities in North and South Carolina.

       ANSWER: With respect to the first sentence of Paragraph 115, DFA is without

information sufficient to form a belief as to the truth of the allegations in that sentence and,

on that basis, denies those allegations. The second sentence of Paragraph 115 contains a

legal conclusion to which no response is required. To the extent a response is required,

DFA denies the remaining allegations in Paragraph 115.

       116.    Due to the prospect of and/or as a result of this foreclosure, many
MDVA farmers will be forced to leave MDVA and join DFA, because the potential to
sell raw milk to local processing facilities will only be available if a dairy farmer is a
member of DFA. As it loses members to DFA, MDVA eventually will be significantly
weakened or pushed out of the market for the supply of raw milk to processing
facilities in North and South Carolina, thus eliminating choice for farmers. Dairy
farmers not within DFA will have no other independent processing plants to sell their
raw milk—both depressing their prices and forcing them to join DFA or potentially
be forced out of business.

       ANSWER: Paragraph 116 contains legal conclusions and unfounded speculation

to which no response is required. To the extent a response is required, DFA denies the

allegations in Paragraph 116.

        117.    This customer foreclosure will cause higher prices for raw milk. By
using its access to the legacy Dean plants and the lack of viable economic alternative
facilities to compel farmers to leave MDVA, DFA will weaken or eliminate its only
rival cooperative in the supply of the region’s raw milk. As a result of this enhanced
market power in raw milk, and as the only economically significant dairy cooperative
in the Carolinas, DFA will have the ability and incentive to raise raw milk prices to
processors and, in turn, processed milk prices to retailers and other customers.

       ANSWER: DFA denies the allegations in Paragraph 117.


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      118.     In addition to DFA having both the ability and incentive to
disadvantage its rival cooperative, Plaintiffs also have the benefit of past experience
suggesting that DFA will in fact act on these incentives in the wake of the Asset Sale.
DFA’s behavior in other regions (Cumberland Dairy) and its pre-acquisition
behavior in the Carolinas under its supply agreement with legacy Dean (forcing Dean
to drop MDVA supply) demonstrate that DFA has found foreclosure to be a profitable
practice because of its effect on competitors and because it provides leverage to
compel farmers to switch to DFA. DFA has a history of anti-competitively leveraging
its supply agreement to restrict and eventually eliminate competitors’ access to legacy
Dean plants; and of anti-competitively leveraging downstream market power in milk
processing into additional upstream market power in milk production. This past
conduct provides insight into the post-Asset-Sale world and guidance about the
feasibility and likelihood of foreclosure.

      ANSWER: DFA denies the allegations in Paragraph 118.

      119.     Post-acquisition, DFA’s ability to foreclose rivals is only strengthened,
as outright ownership will allow more control over the legacy Dean processing
facilities than a contract. This is because prior to the acquisition, Dean maintained
the ability to breach or threaten to breach the contract which would allow Dean to
keep some of DFA’s anticompetitive pursuits in check. Following the acquisition,
DFA’s desired foreclosure strategy can no longer be constrained by Dean’s
independent interests.

      ANSWER: DFA denies the allegations in Paragraph 119.

      120.    Upon information and belief, DFA already has, or at a minimum has a
dangerous probability of achieving, monopoly power of over 60% of the market for
the production of raw Grade A milk in the relevant geographic region. The
suppression of competition alleged herein will have the effect of skyrocketing this
share in the coming years, as it will weaken or eliminate the viability of DFA’s only
remaining competitor, leaving DFA with no supply- or demand-side constraints on
its power over price.

      ANSWER: The first sentence of Paragraph 120 contains legal conclusions to which

no response is required. To the extent a response is required, DFA denies the allegations

in that sentence. DFA denies the remaining allegations in Paragraph 120.

                           Effect on Processed Milk Market


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      121.     DFA’s ownership of the legacy Dean Carolinas milk processing plants
will also create an incentive for DFA to advantage those plants by engaging in input
foreclosure, i.e., reducing competing processing plants’ access to raw milk. With milk
processing plants of its own, DFA will have the ability and the incentive, if it is more
profitable, to raise the cost of or simply reduce the raw milk supply to competing
plants. This will raise rivals’ costs, which will allow DFA to sell milk at higher prices.

      ANSWER: DFA denies the allegations in Paragraph 121.

       122.    DFA will engage in this second form of foreclosure because the tradeoff
between any lost profits in the upstream market from selling raw milk to rivals at
higher- than-optimal prices or reducing the sale of raw milk to rivals will be
outweighed by DFA’s increased profits in the downstream market from facing less
competition in the market for processed milk. In the recently released FTC-DOJ
Draft Vertical Merger Guidelines, an example highlights the Agencies’ concerns with
exactly this situation:

               [Following a merger of an orange orchard and orange juice
        producer] the merged firm may be able to profitably stop supplying
        oranges . . . to rival orange juice suppliers . . . The merged firm will
        lose the margin on the foregone sales of oranges but may benefit from
        increased sales of orange juice … If the benefits outweighed the costs,
        the merged firm would find it profitable to foreclose.


      ANSWER: DFA admits that the language selectively quoted in Paragraph 122 was

contained in the FTC-DOJ Draft Vertical Merger Guidelines but notes that the language

was altered prior to the release of the official Vertical Merger Guidelines. To the extent

Paragraph 122 is inconsistent with or contradicts the Draft Vertical Merger Guidelines,

DFA denies those allegations. DFA denies the remaining allegations in Paragraph 122.

      123.     Absent the sale of the legacy Dean milk processing facilities in the
Carolinas to DFA, competition would increase at the downstream processed milk
level as processors competed to have retailers buy their products.

      ANSWER: DFA denies the allegations in Paragraph 123.



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        124.   Without competition following the Asset Sale, however, DFA’s milk
processing plants will have no valid and independent check on the amounts it charges
retailers for processed milk. Higher input costs will result in higher processed fluid
milk prices offered by both DFA’s legacy Dean plants and by DFA’s rivals, thereby
raising prices to processed milk customers, including retailers. In addition, many
customers will be left with no alternative option but to accept DFA’s supra-
competitive pricing.

        ANSWER: DFA denies the allegations in Paragraph 124.



        125.   Moreover, even if DFA’s own costs go down as a result of the Asset Sale,
due to the nature of competition in the processed milk market (or lack thereof),
processed milk prices offered by DFA would still be likely to go up because DFA’s
competitors would see their costs for raw milk go up. Because processors will
naturally sell products at the highest price possible without losing business, the
second-most competitive processor will significantly influence the price offered by the
winning bidder. The higher costs of DFA’s rivals would force those rivals to raise their
prices to retailers, and this would allow DFA to bid and win at higher prices.

        ANSWER: DFA denies the allegations in Paragraph 125.

        126.  As shown in above in Figure Three, the legacy Dean plants in North and
South Carolina are operating well below their capacity: the legacy Dean High Point
plant operates at 50% of capacity; the Spartanburg plant at 73% of capacity and the
Winston Salem plant at 71%. This extra capacity adds an increased opportunity and
incentive for DFA to divert some milk supply and customer demand away from its
rival processing plants to increase rivals’ costs.

        ANSWER: With respect to the first sentence of Paragraph 126, DFA is without

information sufficient to form a belief as to the truth of the allegations in that sentence and,

on that basis, denies those allegations. DFA denies the remaining allegations in Paragraph

126.

        127.   The movement of farmers to DFA will cut off those farmers’ supply of
raw milk to rival processing plants that are not supplied by DFA, and send that raw
milk to the three legacy Dean plants operating below capacity. Now that DFA controls
enough of the raw milk supply and processing plants that can handle all of its raw
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milk, DFA has the ability and incentive to favor its own processors over its rivals with
respect to the supply of raw milk, thus reducing sales of raw milk to rival processors.
If that option is more profitable than merely raising its rivals’ cost of raw milk, then
that is what DFA will do.

        ANSWER: DFA denies the allegations in Paragraph 127.

        128.     Currently the Hunter Farms milk processing facility in High Point,
North Carolina, is the only plant able to sell milk to Food Lion’s key Salisbury, North
Carolina distribution center at a competitive and economically viable price, taking
into account transportation and other costs. The anticompetitive effects described
above will either compel Hunter Farms to switch to DFA for its supply of raw milk,
thus eliminating all competition for the supply of raw milk in the region and allowing
DFA to raise its raw milk prices, or cause a decline in Hunter Farms’ production of
processed milk. And because Hunter Farms is owned by a grocery chain, it will serve
itself first, leaving customers like Food Lion with a reduced volume or no milk at all,
and/or the ability to purchase milk only at supra-competitive prices from DFA.

        ANSWER: With respect to the first sentence of Paragraph 128, DFA is without

information sufficient to form a belief as to the truth of the allegations in that sentence and,

on that basis, denies those allegations. DFA denies the remaining allegations in Paragraph

128.

                  Significant Barriers to Entry to the Relevant Markets

      129.    The Asset Sale will make it extremely difficult for any new milk
processor to enter the market, which already faces substantial barriers. DFA’s degree
of control over the supply of raw milk to processing facilities in the Carolinas will
prevent sufficient competition from milk producers for any prospective milk
processor to be able to seek competitive prices.

        ANSWER: DFA denies the allegations in Paragraph 129.

       130.   Due to the region’s geography and the relatively high transportation
costs, most milk processors located outside of the Carolinas are not economically
viable options for dairy farmers and cooperatives that supply the legacy Dean
Carolinas facilities.



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       ANSWER: DFA is without information sufficient to form a belief as to the truth of

the allegations in Paragraph 130 and, on that basis, denies those allegations.

       131.     Moreover, due to the Carolinas’ relatively low dairy production as
compared to the national average, the construction of a new local milk processing
facility is not economically feasible. Upon information and belief, only one of the six
facilities currently serving the region is above 80% utilization. National dairy demand
has been declining consistently over the last few years. The dairy processing industry
in the Carolinas is currently facing an over-capacity problem that makes the region
an unlikely target for entry of additional milk processors. The two largest
independent milk processors—Dean and Borden—recently filed for bankruptcy
protection, which would likely make financing such a project nearly impossible.

       ANSWER: DFA admits that Dean and Borden both recently filed for bankruptcy.

DFA is without information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 131 and, on that basis, denies those allegations.

       132.   MDVA previously analyzed whether building a new processing facility
in the region would be a financially viable option and, after careful consideration, has
determined that it would not be feasible, particularly in the face of high costs and
declining milk demand. Upon information and belief, other participants in the milk
supply chain have reached a similar conclusion concerning a new processing plant.

       ANSWER: DFA is without information sufficient to form a belief as to the truth of

the allegations in Paragraph 132 and, on that basis, denies those allegations.

       133.     The sale of the legacy Dean Carolinas facilities to DFA has made a new
milk processing facility’s entry into the market even less likely. Absent the sale of the
legacy Dean Carolinas facilities to DFA, a potential new entrant to the milk processing
market would have had MDVA, DFA, and their affiliated cooperatives as available
options to compete as sources of raw milk for its facility. Even with DFA’s long-
standing relationship with Dean, DFA currently still competes for access to other
facilities in the region. Following the Asset Sale, however, DFA and its affiliated
cooperatives now have no incentive to supply raw milk at competitive prices to non-
legacy-Dean facilities. The Asset Sale therefore increases the already high barriers to
entry as a milk processor in the Carolinas.



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      ANSWER: DFA competes for access to supply raw milk to other milk processing

facilities in the Carolinas and surrounding geographic region. DFA denies the allegations

in Paragraph 133.

       134.   Entry into the raw milk production market in the region also is
 unlikely. Dairy farming entails high fixed costs and a lead time of about two
 years from calf to a revenue-generating cow. Dairy farmers have seen significant
 consolidation, years of oversupply, eroding profit margins, and exit, which are
 not conducive to new entry.

      ANSWER: DFA denies the allegations in Paragraph 134.

                          ANTITRUST INJURY

      135.      DFA’s conduct threatens to and will result in antitrust injury to
Plaintiffs Food Lion and MDVA, as it tends to and will substantially lessen
competition. DFA now has the ability both to foreclose rival cooperatives in the milk
production market from a majority share of raw milk buyers (i.e. milk processing
facilities) in North and South Carolina, while also foreclosing rival processing plants
in North and South Carolina from a majority share of raw milk suppliers.

      ANSWER: DFA denies the allegations in Paragraph 135.

      136.    The foreclosure and reduction in competition described above has
caused antitrust injury to MDVA by, among other things: (i) causing MDVA to be
unable to sell raw milk to nearby processing facilities; and (ii) increasing shipping
costs to ship raw milk to processing facilities that are much further away than the
legacy Dean facilities. MDVA has suffered and will suffer antitrust injury due to its
foreclosure from access to economically viable milk processing.

      ANSWER: DFA denies the allegations in Paragraph 136.

      137.    The entire premise behind DFA’s acquisition of all three of the legacy
Dean milk processing plants in North Carolina is for DFA to consolidate its already
gained monopoly or near-monopoly power, increase control over dairy farmers, and
increase the likelihood that MDVA, and its affiliated milk cooperatives, will be
foreclosed from access to milk processing. DFA’s intention is to reduce MDVA’s
access to processing facilities that it can supply efficiently, making their milk
production businesses not economically viable. In the wake of the DFA-Dean


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transaction, DFA now has the ability and incentive to foreclose MDVA from access
to the legacy Dean facilities.

       ANSWER: DFA denies the allegations in Paragraph 137.

      138.   The most important factor influencing the long-term viability and
overall competitiveness of a dairy cooperative is the cooperative’s ability to transport
its members’ milk to local processing facilities. To continue as a viable competitor,
MDVA’s farmers must have access to local processing facilities to sell their milk.

       ANSWER: DFA is without information sufficient to form a belief as to the truth of

the allegations in Paragraph 138 and, on that basis, denies those allegations.

       139.     Now that DFA has acquired all three Dean facilities in the Carolinas,
MDVA will be permanently cut off from access to DFA-owned processing facilities in
the region because DFA will not allow a direct competitor to have access to a DFA-
owned processing facility. MDVA will lack access to the legacy Dean plants regardless
of price, quality or other pro-competitive factors and solely because of the anti-
competitive incentives of DFA’s ownership. Moreover, MDVA’s access to non-Dean
facilities in the Carolinas is untenable and unsustainable in the long run.

       ANSWER: DFA is without information sufficient to form a belief as to the truth

of the allegations in the third sentence of Paragraph 139 and, on that basis, denies those

allegations. DFA denies the remaining allegations in Paragraph 139.

       140.    This lack of access will also make it unlikely that MDVA will be able to
continue as an independent cooperative serving the Carolinas. In the short term,
many farmers will face a choice between less profitable, more distant processing
partners, or joining DFA. As it loses members to DFA, MDVA will eventually be
significantly weakened or pushed out of the market for the supply of raw milk, leaving
DFA as the only economically significant dairy cooperative in the region.

       ANSWER: DFA denies the allegations in Paragraph 140.

       141.       MDVA’s substantial foreclosure from access to critical processing
facilities, its loss of members to DFA, and its reduction in or elimination from the raw
milk market in the region constitute antitrust injury.



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        ANSWER: Paragraph 141 contains legal conclusions to which no response is

required. To the extent a response is required, DFA denies the allegations in Paragraph

141.

        142.  The Asset Sale will also harm downstream purchasers of processed
milk, such as Food Lion, and ultimately consumers who purchase fluid milk at
grocery stores.

        ANSWER: DFA denies the allegations in Paragraph 142.

        143.   The Asset Sale and the resulting harm to competition in the relevant
geographic markets for both raw and processed milk will cause Food Lion to pay
higher prices for processed milk due to increased raw milk prices, reduced
competition among milk processors, and reduced access to raw milk by milk
processors. As described above, the result of the Asset Sale will be to allow DFA to
raise its processing rivals’ costs for raw milk, either through reducing sales of DFA
raw milk or by eliminating non-DFA options entirely. The reduction of competition
from, or elimination of, MDVA will bring about the “downstream” effect of higher
prices for processed milk, both because higher raw milk prices will be passed on by
milk processors, and because competition between milk processors will be reduced.
As a result, processed milk prices to retailers such as Food Lion, and ultimately to
consumers, will increase.

        ANSWER: DFA denies the allegations in Paragraph 143.

        144.    In order to win a procurement contract, the winning supplier has to bid
lower than its rivals. The price of processed fluid milk increases because the losing
bidder’s costs determine the winner’s final bid. Thus, the price Food Lion can expect
a RFP process to yield is not based on the lowest price a processor would be willing
to offer but the second-lowest price. This is because playing the best two firms off
each other only works until one of them drops out. Thus, even if DFA (as processor)
is the winning bidder because it has lower costs, the price Food Lion must pay will be
based not on the price that DFA could have offered but based on DFA’s processor
rivals’ bids. If those rival bids are higher as a result of the DFA’s foreclosure strategy,
the price paid by customers of processed milk would be expected to increase. If DFA
can raise the costs of rival processing suppliers, then DFA can bid higher and still
win.




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        ANSWER: With respect to the first, second, third, fourth, fifth, and seventh

sentence of Paragraph 144, DFA is without information sufficient to form a belief as to the

truth of the allegations in those sentences and, on that basis, denies those allegations. DFA

denies the remaining allegations in Paragraph 144.

        145.  This raising of processed milk prices and other potential harm that will
result in either or both the raw milk and processed milk markets constitutes
threatened injury to Food Lion under Section 16 of the Clayton Act.

        ANSWER: Paragraph 145 contains legal conclusions to which no response is

required. To the extent a response is required, DFA denies the allegations in Paragraph

145.

        146.  Because the injury to MDVA (foreclosure) and Food Lion (increased
prices) flows directly from both the reduction in competition caused by DFA’s
foreclosure of MDVA’s access to the legacy Dean Carolinas facilities prior to the Asset
Sale and the further reduction in competition likely to be caused as a result of the
Asset Sale transaction, as well as from anti-competitive acts made possible by that
illegal transaction, the threatened injuries to MDVA and Food Lion from the
transaction constitute antitrust injury.

        ANSWER: Paragraph 146 contains legal conclusions to which no response is

required. To the extent a response is required, DFA denies the allegations in Paragraph

146.

       147.   These future anti-competitive results are likely to occur because they
are the economically rational result of placing under combined ownership a company
that possesses market power over an input (DFA, and raw milk) and a company that
possesses market power over a product made from that input (legacy Dean and
processed milk).

        ANSWER: DFA denies the allegations in Paragraph 147.




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        148.  This case, however, presents the rare scenario where a court
considering an asset acquisition need not base its decision solely on economic
consequences likely to occur in the future. Here, the market is already lacking in
competition for the same reasons that are perpetuated by the Asset Sale: a shared
interest between DFA and Dean. The Side Note and DFA’s ability to cause Dean to
foreclose MDVA access to its plants up to the very day of the closing of the Asset Sale,
whether by exercising the power gained by the Side Note, through other agreements,
or otherwise, created a lack of competition that, without the Asset Sale, would have
gone away and been replaced with greater competition with the discharge of the Side
Note. With the Asset Sale, the competitive environment will worsen because of joint
ownership.

        ANSWER: DFA denies the allegations in Paragraph 148.

        149.  The injuries to MDVA, Food Lion, and the public at large will be
irreparable. Those injuries will not be adequately compensable by money damages.

        ANSWER: DFA denies the allegations in Paragraph 149.

        150. The public interest, including the interest in ensuring competition,
weigh heavily in favor of a divestiture.

        ANSWER: DFA denies the allegations in Paragraph 150.

      151.     DFA had no legitimate and cognizable interest in completing its illegal
acquisition of the legacy Dean plants in the Carolinas.

        ANSWER: Paragraph 151 contains legal conclusions to which no response is

required. To the extent a response is required, DFA denies the allegations in Paragraph

151.

               Injunctive Relief is Narrowly Tailored to Ensure Competition

        152.   The three legacy Dean processing facilities in North and South Carolina
were included in the Asset Sale to DFA. Due to the structure and composition of the
markets described herein, the Asset Sale allows DFA effectively to control the markets
for both the supply of raw milk and for processed and packaged dairy products in the
region. In fact, DFA’s control of the milk supply chain is now even stronger than that
of Dean following the Dean-Suiza divestiture.


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      ANSWER: DFA admits the first sentence of Paragraph 152. DFA denies the

remaining allegations in Paragraph 152.

      153.    It is critical that at least one of DFA’s three legacy Dean facilities
located in the Carolinas be divested to an independent and qualified buyer, and that
the divested facility be one that ensures competition in the supply of raw milk and
processed fluid milk products in the region going forward. The long-term anti-
competitive consequences of the Dean-Suiza merger have shown what will happen in
the absence of a robust divestiture here.

      ANSWER: DFA denies the allegations in Paragraph 153.

      154.   Such a divestiture buyer should: (i) be independent from DFA; (ii) be a
true and capable competitor in the region; and (iii) have a proven track record and
experience with processing and co-packing consumer products.

      ANSWER: DFA denies the allegations in Paragraph 154.

      155.     To effectively utilize one of the legacy Dean processing facilities to
increase competition, the divestiture buyer must be incentivized to compete
vigorously as a dairy producer in the area. A processor without dairy production in
the area will have perverse incentives to deal exclusively with the largest cooperative
in the area, DFA, in hopes of gaining favor that could benefit the purchaser in the
regions where DFA and the purchaser actually compete.

      ANSWER: DFA denies the allegations in Paragraph 155.

       156.    To ensure that competition is effective and sustainable into the future,
the divestiture buyer should also have a proven track record and past experience with
processing and co-packing consumer products.

      ANSWER: DFA denies the allegations in Paragraph 156.

      157.      The relief sought is narrowly tailored. If granted, DFA could keep all
but one of the facilities gained in the Asset Sale, including two of the legacy Dean
facilities in the Carolinas. DFA will continue to maintain a substantial presence in the
Carolinas.




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        ANSWER: Paragraph 157 contains legal conclusions to which no response is

required. To the extent a response is required, DFA denies the allegations in Paragraph

157.

                                     COUNT ONE

               (Violation of Section 7 of the Clayton Act, 15 U.S.C. § 18)

        158.   The foregoing allegations are incorporated as though re-alleged herein.

        ANSWER: The foregoing responses are incorporated as though set forth herein.

        159.  MDVA and Food Lion bring this action under Section 16 of the Clayton
Act, 15 U.S.C. § 26, to prevent and restrain the DFA from violating Section 7 of the
Clayton Act, 15 U.S.C. § 18. The effect of the Asset Sale will be substantially to lessen
competition or to tend to create a monopoly in the relevant markets described above,
or in another line of commerce, in violation of Section 7 of the Clayton Act.

        ANSWER: DFA admits that MDVA and Food Lion purport to bring this action

under Section 16 of the Clayton Act and Section 7 of the Clayton Act. DFA denies the

remaining allegations in Paragraph 159.

        160. The Asset Sale will decisively and permanently foreclose MDVA, other
non-DFA cooperatives, and independent dairy farms from accessing the legacy Dean
milk processing facilities in the Carolinas. It also increases DFA’s market power in
the upstream market such that more MDVA farmers will be forced to switch to DFA,
and places DFA in the position immediately to restrict its competitors’ access to the
downstream fluid milk processing and packaging market.

        ANSWER: DFA denies the allegations in Paragraph 160.

        161.  The relevant markets are highly concentrated; barriers to entry and
expansion are high; and new entry would not be timely, likely or economical to replace
the competition that will be lost as a result of the Asset Sale.

        ANSWER: DFA denies the allegations in Paragraph 161.



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      162.     There are no efficiencies that are transaction-specific, let alone
sufficient to overcome the permanent loss of competition.

      ANSWER: DFA denies the allegations in Paragraph 162.

       163.    Plaintiffs are threatened with further loss or damage by reason of the
actual or likely lessening of competition described above and are entitled to injunctive
relief under Section 16 of the Clayton Act, 15 U.S.C. § 26, sufficient to ensure
competition in the relevant markets.

      ANSWER: DFA denies the allegations in Paragraph 163.

                                    COUNT TWO

              (Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2)

      164.    The foregoing allegations are incorporated as though re-alleged herein.

      ANSWER: The foregoing responses are incorporate as though set forth herein.

      165.    As detailed above, DFA has monopoly power, or at a minimum, a
dangerous probability of success in acquiring monopoly power, in the market for the
supply of raw Grade A milk to milk processing facilities in the Carolinas, including
the power to control prices and exclude competition. Upon information and belief,
DFA already possesses 60% or more of the market share for the supply of raw Grade
A milk to milk processing facilities in the Carolinas. The Asset Sale, moreover, creates
a dynamic whereby DFA’s already-dominant share of the relevant market is likely to
increase rapidly as DFA consolidates its power and weakens or eliminates its only
competitor in the region, and the market tips accordingly.

      ANSWER: DFA denies the allegations in Paragraph 165.




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      166.    DFA has made the willful acquisition and maintenance of that market
power, or has willfully, knowingly, and with specific intent attempted to acquire that
market power, by, inter alia, entering into long-term exclusive dealing contracts with
Dean, which the Asset Sale has effectively made permanent, and causing Dean not to
purchase raw Grade A milk from MDVA, whether by exercising its rights under the
Side Note, entering into and enforcing other anticompetitive agreements with Dean,
or through other means including the May 1, 2020, purchase of the legacy Dean
Carolinas facilities.

      ANSWER: DFA denies the allegations in Paragraph 166.

       167.   DFA’s monopoly power in the relevant market, or its dangerous
probability of success in acquiring monopoly power, was and is not a consequence of
its superior product, business acumen, or historic accident.

      ANSWER: DFA denies the allegations in Paragraph 167.

      168.    MDVA is a competitor of DFA and has been and will continue to be
harmed by DFA’s unlawful conduct, which has foreclosed MDVA from access to half
of the milk processing facilities in the Carolinas. The anticompetitive Asset Sale also
increases DFA’s market power such that more MDVA farmers will be forced to
switch to DFA, eventually eliminating MDVA as a viable competitor in the region.

      ANSWER: DFA denies the allegations in Paragraph 168.

      169.    Food Lion, a downstream purchaser of processed fluid milk, will be
harmed by DFA’s unlawful conduct because DFA has acquired or has a dangerous
probability of acquiring the power to exclude competition and raise the price of
processed fluid milk products.

      ANSWER: DFA denies the allegations in Paragraph 169.

      170.      The market for the supply of raw Grade A milk to milk processing
facilities in the Carolinas is highly concentrated because DFA only has one competitor
in the region, MDVA; barriers to entry and expansion are high; and a new entrant
would be unable to compete with DFA as a result of the Asset Sale and other conduct
and market conditions described herein.

      ANSWER: DFA denies the allegations in Paragraph 170.


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       171.    There are no efficiencies that are transaction-specific, let alone
sufficient to outweigh the anticompetitive effect of the Asset Sale.

      ANSWER: DFA denies the allegations in Paragraph 171.

       172.   Both Plaintiffs are threatened with loss or damage by DFA’s violation
 of 15 U.S.C. § 2 and are entitled to injunctive relief under Section 16 of the Clayton
 Act, 15 U.S.C. § 26, sufficient to ensure competition in the relevant market.

      ANSWER: DFA denies the allegations in Paragraph 172.

                              REQUESTED RELIEF

      173.     In light of the foregoing, Plaintiffs MDVA and Food Lion respectfully
request that the Court enter a judgment in their favor and against DFA and grant the
following relief:
           a. DFA’s acquisition of all three legacy Dean facilities in North
               and South Carolina be adjudged and decreed to have violated
               Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 2 of
               the Sherman Act, 15 U.S.C. § 2; and the acquisition and DFA’s
               other conduct described herein to be adjudged to have violated
               Section 2 of the Sherman Act, 15 U.S.C. § 2;

             b. Plaintiffs be granted a preliminary injunction that will preserve
                the status quo, protect the relevant assets, and ensure the
                viability of a divestiture remedy until the conclusion of this
                matter;

             c. Plaintiffs be granted permanent injunctive relief requiring
                DFA to divest at least one of the three legacy Dean processing
                facilities in the Carolinas—which facility is sufficient to ensure
                competition in the relevant geographic market—to a viable,
                qualified, and independent purchaser unaffiliated with DFA, or
                in the alternative be subjected to such other injunctive relief as
                would be sufficient to remedy the anti-competitive effects of the
                Asset Sale and DFA’s violation of the Sherman Act;

             d. Plaintiffs be awarded reasonable attorneys’ fees and costs of
                this action, pursuant to Section 16 of the Clayton Act, 15 U.S.C.
                § 26; and
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               e. Plaintiffs receive such other relief as the Court deems just and proper.

       ANSWER: DFA admits that Plaintiffs seek the relief listed in Paragraph 173 but

denies that Plaintiffs are entitled to any such relief. DFA denies the remaining allegations

in Paragraph 173.

                                    GENERAL DENIAL

       DFA denies every allegation in the Complaint not expressly admitted in this

Answer

                                         DEFENSES

       DFA expressly reserves the right to plead additional affirmative and other defenses

should discovery reveal any such defenses in this case. DFA asserts the following

affirmative defenses without assuming the burden of proof as to any issue that would

otherwise rest upon Plaintiffs:

                                     FIRST DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by the “failing firm” doctrine.

                                    SECOND DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by the applicable statute of

limitations.

                                     THIRD DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches, in that

plaintiffs have unreasonably delayed asserting their alleged damages, and such delay has

caused prejudice to DFA.
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                                   FOURTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because they are subject to a

settlement and release executed in the matters of Food Lion et al. v. Dean Foods Co. et al.,

No. 2:07-cv-188 (E.D. Tenn.) and/or Sweetwater Valley Farm, Inc., et al v. Dean Foods

Company, et al., No. 2:07-cv-208 (E.D. Tenn.). DFA adopts by reference and incorporates

Exhibit A.

                                     FIFTH DEFENSE

       Plaintiffs’ claims are barred, in whole in part, by the doctrines of judicial or

collateral estoppel and waiver.

                                     SIXTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because they are precluded and/or

preempted by governmental oversight including by the application of filed-rate doctrine.



                                  SEVENTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unclean hands

and/or in pari delicto.

                                   EIGHTH DEFENSE

       Plaintiffs’ claims are barred because there is no “case or controversy” as required

for the exercise of federal courts’ jurisdiction by Article III of the U.S. Constitution.




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                                   NINTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because the conduct of which they

complain created merger-specific efficiencies that outweigh any potential harm to

competition.

                            RESERVATION OF DEFENSES

       DFA has not knowingly or intentionally waived any applicable defenses, and it

reserves the right to assert and rely upon other applicable defenses that may become

available or apparent during discovery in this matter. DFA reserves the right to amend or

seek to amend its Answer and/or defenses.

                                 PRAYER FOR RELIEF

       WHEREFORE, DFA prays for judgement as follows:

       1.      That the Court dismiss plaintiffs’ Complaint with prejudice;

       2.      That the Court enter judgment in favor of DFA and against plaintiffs on each

and cause of action set forth in the Complaint;

       3.      That DFA recover the costs, expenses, and disbursements that it has incurred

in defending this action; and

       4.      That DFA be granted such further relief as the Court deems just and proper.




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    This the 14th day of August, 2020.

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